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                               EXHIBIT D


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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Last         First      Booking      Release   Charge                                      Bond Amt
ackles       shahiem      08/17/15     08/23/15 ftp insurance violation
Adamson      Jacob        08/12/15     08/13/15 PUBLIC INTOXICATION                        $500.00
ADDERHOLD    JEFFREY      04/15/15     07/16/15 PROBATION VIOLATION                        NO BOND
ADDERHOLD    JEFFREY      04/15/15     07/16/15 POSSESSION CONTROLLED SUBSTANCE            $10,000.00
ADDISON      TIMOTHY      05/19/15     06/09/15 community corrections violation            NO BOND
AKINS        BENNIE       01/28/15     07/28/15 PROBATION VIOLATION                        NO BOND
AKINS        BENNIE       01/28/15     07/28/15 SORNA VIOLATION GJI
AKINS        BRANDON      07/02/15     07/02/15 CRIMINAL MISCHIEF 3RD                      $2,500.00
Akins        Dana         04/16/15              FTA CHILD SUPPORT                          2500
Akins        Dana         04/16/15              THEFT OF PROP 2ND
Akins        Dana         04/16/15              POSSESSION DRUG PARAPHERNELIA MISD
Akins        Dana         04/16/15              POSSESSION DRUG PARAPHERNELIA FEL
Akins        Dana         04/16/15              TRAFFICKING
Akins        Dana         04/16/15              MANUFACTURING CONTROLLED SUBSTANCE 1ST
Akins        Dana         04/16/15              ATTEMPT ELUDE
AKINS        JOHNNY       04/01/15     07/21/15 ILLIGAL POSSESS DREDIT/ D CARD             $5,000.00
AKINS        JOHNNY       04/01/15     07/21/15 ILL POSSESSION CREDIT CARD                 $5000.00
Akins        Timothy      04/16/15     10/28/15 ATTEMPT ELUDE
Akins        Timothy      04/16/15     10/28/15 POSSESSION DRUG PARAPHERNELIA {MISD}       $47,000.00
Akins        Timothy      04/16/15     10/28/15 POSSESSION DRUG PARAPHERNELIA {FEL}
Akins        Timothy      04/16/15     10/28/15 MANUFACTURING CONTROLLED SUBSTANCE 1ST
Akins        Timothy      04/16/15     10/28/15 TRAFFICKING CONTROLLED SUBSTANCE
Akins        Timothy      04/16/15     10/28/15 CHILD SUPPORT                              $2000
Alexander    Jesse        09/19/15     09/21/15 f.t.a. drug paraphernalia                  $500.00
ALLEN        JAMES        06/29/15     09/14/15 PROBATION VIOLATION                        NO BOND
ALLENDE      CHARLIE      11/20/15     11/21/15 DRIVING UNDER INFLUENCE                    $2500.00
ALLENDE      CHARLIE      11/20/15     11/21/15 RESISTING ARREST                           $2500.00
ALLENDE      CHARLIE      11/20/15     11/21/15 OBSTRUCT GOV. OPERATIONS                   $5000.00
ALLENDE      CHARLIE      11/20/15     11/21/15 LEAVING SCENE OF ACCIDENT                  $1000.00
ALSABROOK    SANDRA       09/14/15     09/14/15 GJI                                        120,000.00
ALSABROOKS   WILLIAM      09/14/15     09/14/15 RESISTING ARREST                           2500.00
ALSABROOKS   WILLIAM      09/14/15     09/14/15 OBSTRUCTION OF A GOVT. OPERATION           5000.00
ANDERSON     AMANDA       11/24/15              FTA-PROBATION REV                          NONE
anderson     randy        06/06/15     06/07/15 DUI                                        1000
anderson     randy        06/06/15     06/07/15 UNLAWFULLY CARRYING PISTOL                 500
anderson     randy        06/06/15     06/07/15 INSURANCE VIOLATION                        100
ANGLIN       ANTHONY      09/29/15     10/06/15 COMMUNITY CORRECTIONS VIOLATION            no bond
Appling      Mark         07/28/15     08/10/15 TAMPERING WITH WITNESS                     $10,000.00
Appling      Mark         07/28/15     08/10/15 DRIVING UNDER INFLUENCE                    2500.00
Appling      Mark         07/28/15     08/10/15 INTERFERANCE WITH DV CALL                  $2500.00
Appling      Mark         07/28/15     08/10/15 DOMESTIC VIOLENCE 3RD                      $20,000.00
Arrington    Joshua       06/16/15     06/16/15 DOMESTIC VIOLANCE 3RD                      5000.00
Askew        Michael      09/24/15     09/25/15 POSS.CRACK COCAINE                         10000.00
BABBS        JONATHAN     11/18/15              PROBATION VIOLATION                        NONE
BAILEY       JENNIFER     07/07/15     07/08/15 PROBATION VIOLATION                        NO BOND
Bales        Deborah      10/16/15     10/16/15 DV 3RD CRIMINAL MISCHIEF                   $5,000.00
Barker       Charles      11/09/15     11/09/15 FAILURE TO APPEAR                          no bond
Barker       Charles      11/09/15     11/09/15 FAILURE TO APPEAR                          no bond
Barker       Charles      11/09/15     11/09/15 FAILURE TO APPEAR                          no bond
barrett      spence       05/22/15     08/12/15 POSSESSION CONTROLLED SUBSTANCE METH       10,000
barrett      spence       05/22/15     08/12/15 POSSESSION DRUG PARAPHERNELIA              2500
barrett      spence       05/22/15     08/12/15 CHEMICAL ENDANGERMENT OF A CHILD           10,000
barrett      spence       05/22/15     08/12/15 ILLEGAL POSSESSION OF PRESCRIPTION         5000.00
BARSH        BETTY        11/05/15              POSSESSION DRUG PARAPHERNELIA              NO BOND
BARSH        SHELLY       08/24/15     08/24/15 PROBATION VIOLATION
Bartelt      Katie        09/08/15     09/09/15 BURGLARY 3                                 $15000.00
Bartelt      Katie        09/08/15     09/09/15 TOP 2ND                                    $5000.00
BASS         KENYA        07/20/15     07/21/15 DV HARRASMENT
BASS         THOMAS       09/29/15     11/16/15 PAROLE VILOATION                           NONE
BASS         THOMAS       09/29/15     11/16/15 FUGUTIVE FROM JUSTICE
BASS         THOMAS       06/02/15     07/15/15 PAROLE VIOLATION                           NONE
Battle       Aaliyah      09/16/15     09/16/15 POSSESSION MARIJUANA 2nd                   2,500.00
battle       chastin      06/10/15     06/12/15 FAILURE TO APPEAR seat belt
battle       chastin      06/10/15     06/12/15 FAILURE TO APPEAR driving wo licince       none
BATTLE       EVA          09/28/15     10/12/15 PROBATION VIOLATION                        $2500.00
Battle       James        11/12/15     11/12/15 GJI {POSS MARI 1ST}                        $10,000.00
BATTLE       LADONTE      11/20/15     11/23/15 COMMUNITY CORRECTIONS VIOLATION            NONE
BATTLE       LADONTE      08/12/15     09/10/15 POSSESSION MARIJUANA SECOND                2,500.00
BATTLE       LADONTE      08/12/15     09/10/15 PROBATION VIOLATION                        NONE
BATTLE       MELVIN       10/20/15     10/27/15 MENACING                                   $3,000.00




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BATTLE      MELVIN     10/20/15   10/27/15 POSSESSION MARIJUANA 1ST                                           $10,000.00
BAYLISS     CALEB      11/01/15   11/03/15 POSS. MARIJUANA 2ND                                                2500.00
BAYLISS     CALEB      11/01/15   11/03/15 THEFT OF PROPERTY 2ND                                              5000.00
BEAN        MICHAEL    10/09/15   10/16/15 FTA - ASSAULT 2ND,DISCHARGING GUN IN OCCUPIED DWE10,000
BEAN        MICHAEL    10/09/15   10/16/15 FTA - DISCHARGE GUNN OCC. BLDG/V
Beatty      Scotty     06/02/15   06/02/15 FAILURE TO APPEAR theft by fraud                                   $2500 + 1
Beck        Timothy    09/21/15   09/21/15 GRANDJURY DUI FELONY                                               5000.00
BELL        Demerus    10/07/15   10/16/15 COMMUNITY CORRECTIONS VIOLATION
BELL        Demerus    06/17/15   08/25/15 POSS. DRUG PARA.                                                   2500.00
BELL        Demerus    06/17/15   08/25/15 COMMUNITY CORRECTIONS VIOLATION                                    NO BOND
BELL        KENNETH    04/06/15   06/18/15 COMMUNITY CORRECTIONS VIOLATION
benefield   gary       07/05/15   07/09/15 FAILURE TO APPEAR SPEEDING                                         $100 cash bond
benefield   gary       07/05/15   07/09/15 FAILURE TO APPEAR DRIVING WHILE SUSPENDED                          $100 cash bond
BENTLEY     TAMMY      06/21/15   07/03/15 POSSESSION CONTROLLED SUBSTANCE                                    $10,000.00
BLAIR       ANDREW     08/26/15   08/27/15 POSSESSION CONTROLLED SUBSTANCE/ METH                              10000.00
BLAIR       ANDREW     08/26/15   08/27/15 POSSESSION DRUG PARAPHERNELIA                                      2500.00
BOEHL       TONIA      06/30/15   07/01/15 POSSESSION CONTROLLED SUBSTANCE                                    $10,000.00
BOEHL       TONIA      06/30/15   07/01/15 POSSESSION CONTROLLED SUBSTANCE                                    $10,000.00
BOEHL       TONIA      06/30/15   07/01/15 POSSESSION MARIJUANA                                               $2500.00
BOEHL       TONIA      06/30/15   07/01/15 POSSESSION DRUG PARAPHERNELIA                                      $2500.00
BOLIN       CHARLES    09/02/15   10/28/15 PROBATION VIOLATION
BONNER      EDDIE      08/17/15   08/18/15 FAILURE TO APPEAR                                                  $2500.00
BONNER      EDDIE      08/17/15   08/18/15 FAILURE TO APPEAR                                                  $2500.00
BONNER      JOSHUA     05/30/15   06/01/15 POSS. MARIJUANA FIRST                                              $10,000.00
BONNER      JOSHUA     05/30/15   06/01/15 POSSESSION DRUG PARAPHERNELIA                                      $2,500.00
BONNER      TONYA      07/25/15   07/27/15 DV 3RD                                                             $5,000.00
BOYD        DANNY      07/27/15   07/27/15 CRIMINAL MISCHIEF 3RD                                              2500.00
BOYD        DANNY      11/04/15   11/05/15 FTC DUI
BOYD        DANNY      11/04/15   11/05/15 DISORDERLY CONDUCT                                                 500.00
BRADLEY     BILLY      05/12/15   07/10/15 COMMUNITY CORRECTIONS VIOLATIONS                                   NO BOND
Bradley     David      08/31/15   09/01/15 Unlawful possession or receipt of controlled substances            10,000.00
Bradley     David      08/31/15   09/01/15 Unlawful possession of marihuana in the first degree               10,000.00
Bradley     David      08/31/15   09/01/15 Drug paraphernalia; use or possession; delivery or sale; forfeitur 2,500.00
Bradley     Melissa    06/18/15   06/20/15 POSS CONTROLL SUBSTANCE                                            $10,000.00
Bradley     Melissa    06/18/15   06/20/15 POSS DRUG PARAPHERNALIA                                            $2,500.00
Bradley     Stacey     10/20/15   10/22/15 Theft of Property 1st                                              10000.00
BRADLEY     STEVE      06/18/15   09/04/15 POSS. CONTROLLED SUBSTANCE                                         10,000.00
BRADLEY     STEVE      06/18/15   09/04/15 POSS.DRUG PARA                                                     2,500.00
bradley     zachary    10/28/15   10/29/15 DRIVING UNDER INFLUENCE                                            2500.00
Brewer      Ara        06/15/15   08/28/15 PROBATION VIOLATION                                                NOBOND
BRISKEY     ANTHONY    05/15/15   08/05/15 BURGLARY-NON-RESIDENCE-FORCE                                       15000
Briskey     Durward    07/16/15   09/14/15 PROBATION VIOLATION                                                NO BOND
BRISKEY     RODNEY     04/28/15   11/16/15 BURGLARY 3
BRISKEY     RODNEY     04/28/15   11/16/15 THEFT 3
BRISKEY     RODNEY     04/28/15   11/16/15 PROBATION VIOLATION
BRISKEY     RODNEY     04/28/15   11/16/15 BURGLARY 3
BRITT       JESSICA    06/14/15   06/16/15 POSSESSION CONTROLLED SUBSTANCE                                    $10,000.00
BRITT       JESSICA    06/14/15   06/16/15 POSSESSION DRUG PARAPHERNELIA                                      $2500.00
BROOM       MARIO      11/20/14   10/28/15 ARSON                                                              $35,000.00
BROOM       MARIO      11/20/14   10/28/15 ARSON
BROOM       MARIO      11/20/14   10/28/15 ARSON
BROOM       MARIO      11/20/14   10/28/15 ARSON
BROOM       MARIO      11/20/14   10/28/15 ARSON
BROOM       MARIO      11/20/14   10/28/15 FAILURE TO APPEAR CHILD SUPPORT                                    $5,000
BROOM       MARIO      11/20/14   10/28/15 ARSON
BROOM       MARIO      11/20/14   10/28/15 ARSON
BROOM       MARIO      11/20/14   10/28/15 ASSAULT 2ND                                                        $15,000.00
BROOM       MARIO      11/20/14   10/28/15 ASSAULT 2ND                                                        $15,000.00
Brown       Antonia    11/05/15   11/07/15 COURT ORDER                                                        NONE
brown       ashley     07/22/15   09/14/15 PROBATION VIOLATION                                                NO BOND
BROWN       CECIL      11/14/15            ASSUALT 2ND                                                        15000.00
BROWN       DOYLE      09/15/15   10/19/15 PROBATION VIOLATION
BROWN       JAMES      09/12/15   09/14/15 FAILURE TO APPEAR CHILD SUPPORT                                    $2500
BROWN       JEFFREY    10/09/15   10/09/15 FTP {SWITCHED TAG}
BROWN       JEFFREY    10/09/15   10/09/15 FTP {SWITCHED TAG}
BROWN       JEFFREY    10/09/15   10/09/15 FTP {expired tag}
Brown       Kayla      07/08/15   07/09/15 POSSESSION FORGED INSTRUMENT                                       $5000.00
Brown       Kayla      07/08/15   07/09/15 THEFT 2                                                            $5000.00
BROWN       KENYATTA   08/24/15   08/25/15 FTA ALCOHOL POSS IN VECHICLE                                       500.00
BROWN       KENYATTA   08/24/15   08/25/15 FTA-DRIVING WHILE LICENSE SUSPENDED                                500.00
BROWN       KIARA      07/18/15   07/24/15 FTA-DV 3RD HARASSMENT




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BROWN      KIARA         07/18/15   07/24/15 FTA-SPEEDING
BROWN      KIARA         07/18/15   07/24/15 FTP-SPEEDING
BROWN      KIARA         07/18/15   07/24/15 FTP-VIOLATION NOISE ORDINACE
BROWN      RANDALL       04/13/15   06/14/15 CRIMINAL MISCHIEF                            500.00
BROWN      RANDALL       04/13/15   06/14/15 CRIMINAL TRESPASS 3RD                        500.00
BROWN      RANDALL       04/13/15   06/14/15 HARASSMENT 3RD {DV}                          500.00
BROWN      RANDALL       04/13/15   06/14/15 CRIMINAL TRESPASS 3RD                        500.00
BROWN      STEPHEN       07/25/15   07/28/15 POSS. DRUG PARA. 2ND OFFENSE                 10000.00
BROWN      STEPHEN       07/25/15   07/28/15 POSS. CONTROLLED SUB                         10000.00
BROWN      STEPHEN       07/25/15   07/28/15 ASSAULT 1ST                                  25000.00
BRYANT     MONTAVIUS     07/08/15   09/14/15 PROBATION VIOLATION                          NO BOND
BUCHANAN   UNDRA         09/18/15   09/21/15 DUI                                          1000.00
BUCHANAN   UNDRA         09/18/15   09/21/15 SPEEDING
BUCHANAN   UNDRA         09/18/15   09/21/15 DRIVING SUSPENDED
BUCKNER    CHRISTOPHER   08/23/15   08/24/15 DUI                                          2500.00
Burke      Casey         03/31/14            Sodomy 1st
Burke      Casey         03/31/14            Sodomy 1st
Burke      Casey         03/31/14            Rape 1st                                     240,000.00
Burke      Casey         03/31/14            Sexual Abuse of a Child Less Than age 12
Burke      Casey         03/31/14            Sexual Abuse of a Child Less Than 12
Burke      Casey         03/31/14            SODOMY 1ST
Burke      Casey         03/31/14            SODOMY 1ST
Burke      Casey         03/31/14            SODOMY 1ST
Burke      Casey         03/31/14            SODOMY 1ST
Burke      Casey         03/31/14            RAPE 2ND
Burke      Casey         03/31/14            INCEST
Burke      Casey         03/31/14            SODOMY 2ND                                   135,000.00
Burke      Casey         03/31/14            SEX ABUSE OF CHILD LESS 12 YRS               $630,000.00
Burke      Casey         03/31/14            SODOMY 1ST
Burke      Casey         03/31/14            SODOMY 1ST
Burke      Casey         03/31/14            SODOMY 1ST
Burke      Casey         03/31/14            SODOMY 1ST
Burke      Casey         03/31/14            SODOMY 2ND
Burke      Casey         03/31/14            SODOMY 2ND
Burke      Casey         03/31/14            SODOMY 1ST
Burke      Casey         03/31/14            SODOMY 1ST
Burns      Robert        07/25/15   07/25/15 DISORDERLY CONDUCT                           1000.00
Burnside   Robert        07/08/15   07/09/15 criminal poss of forged instrament 2nd       5000.00
Burnside   Robert        07/08/15   07/09/15 THEFT OF PROPERTY 2                          5000.00
CALDWELL   EBONY         09/06/15   09/16/15 SPEEDING
CALDWELL   EBONY         09/06/15   09/16/15 DRIVING W/O LICENSE
Caldwell   Jason         06/15/15   06/15/15 POSSESSION CONTROLLED SUBSTANCE              10,000
Caldwell   Jason         06/15/15   06/15/15 POSSESSION DRUG PARAPHERNELIA                2500.00
campbell   billy         07/24/15   07/24/15 PUBLIC INTOXICATION                          500.00
campbell   billy         07/24/15   07/24/15 POSSESSION DRUG PARAPHERNELIA                2500.00
Cannon     Christopher   05/28/15   07/10/15 COMMUNITY CORRECTIONS VIOLATIONS             NO BOND
CANTRELL   ANTONIO       09/12/15   09/14/15 BURGLARY 3RD, TOP 2ND                        10000.00
Carder     Carrie        08/22/15   08/23/15 24 HOUR SANCTION                             NO BOND
CARSON     ROBERT        07/21/15   08/06/15 PROBATION VIOLATION
CARSON     ROBERT        07/07/15   07/08/15 THEFT 2ND                                    $5000.00
CARSON     ROBERT        07/07/15   07/08/15 BURGLARY 3RD                                 $15000.00
Carswell   Freddie       10/13/15   10/14/15 ftc dui
Carswell   Freddie       10/13/15   10/14/15 ftc exp tag
Carswell   Freddie       10/13/15   10/14/15 ftc driving revoked
Carswell   Freddie       10/13/15   10/14/15 FTP ATTEMPT ELUDE
CARVER     KENNETH       01/17/15   08/12/15 POSSESSION OF CONTROLED SUBSTANCE            $10,000.00
CATER      DANNY         10/30/15   10/31/15 HARASSMENT                                   1000.00
CHANDLER   JOSHUA        10/08/15   10/09/15 PUBLIC INTOXICATION                          500.00
CHANDLER   JOSHUA        10/08/15   10/09/15 CRIMINAL LITTERING                           $1000.00
chester    edwin         06/15/15   06/19/15 DRIVING UNDER INFLUENCE                      2500.00
CHISLOM    FELICIA       06/12/15   06/13/15 FTA NWNI
CHISLOM    FELICIA       06/12/15   06/13/15 FTA NWNI
CHISLOM    FELICIA       06/12/15   06/13/15 FTA NWNI
CHISLOM    FELICIA       06/12/15   06/13/15 FTA NWNI
CHISLOM    FELICIA       06/12/15   06/13/15 FTA NWNI
CHISLOM    FELICIA       06/12/15   06/13/15 FTA NWNI
CHISLOM    FELICIA       06/12/15   06/13/15 FTA NWNI
CHISLOM    FELICIA       06/12/15   06/13/15 FTA NWNI
Chisolm    Kevin         10/31/15   10/31/15 POSS. MARIJUANA 2ND                          2500.00
Chisolm    Kevin         10/31/15   10/31/15 POSS. DRUG PARA.                             2500.00
Clanton    Lucas         08/13/15   09/14/15 PROBATION VIOLATION                          no bond




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CLARK      CORDELL    11/12/15   11/13/15 FTA DRIVING WHILE SUSPENDED                       100.00
CLARK      CRYSTAL    09/13/15            PROBATION REVOKE                                  NONE
CLARK      CRYSTAL    09/13/15            PROBATION REVOKE                                  NONE
CLARK      DEJUAN     09/16/15   10/01/15 COMMUNITY CORRECTIONS VIOLATION                   NONE
CLARK      DEJUAN     11/02/15   11/09/15 COMMUNITY CORRECTIONS VIOLATION                   NO BOND
Clifton    Candace    04/16/15            POSSESSION DRUG PARAPHERNELIA FELONY              $46,000.00
Clifton    Candace    04/16/15            POSSESSION DRUG PARAPHERNELIA MISD
Clifton    Candace    04/16/15            MANUFACTURING CONTROLLED SUBSTANCE 1ST
Clifton    Candace    04/16/15            TRAFFICKING CONTROLLED SUBSTANCE
Clouse     James      05/28/15   07/26/15 MENACING
Clouse     James      05/28/15   07/26/15 ASSAULT 3RD
Colville   Shawna     07/20/15   08/28/15 PROBATION VIOLATION                               no bond
Colville   Shawna     07/20/15   08/28/15 DV 3RD                                            5000.00
CONN       KENNETH    09/15/15   09/16/15 DV 3RD CRIMINAL MISCHIEF                          5000.00
COOK       WILBER     06/11/15   06/11/15 IN FROM COURT
cooke      jeremy     10/07/15   10/08/15 DRIVING UNDER INFLUENCE                           5,000.00
COSBY      GEORGE     11/17/15   11/19/15 FTA - DUI                                         500.00 cash
COSBY      JESSICA    06/08/15   06/18/15 FTP PUBLIC INTOX
cosby      jessie     06/08/15   06/12/15 criminal mischief 3rd
cosby      jessie     06/08/15   06/12/15 THEFT 3
cosby      jessie     06/08/15   06/12/15 menacing 3rd
cosby      jessie     06/08/15   06/12/15 ASSAULT 3 DV
cosby      jessie     07/02/15   07/16/15 VIOLATION RELEASE ORDER
COSPER     CLAY       07/20/15   08/05/15 DRUG COURT SANCTION
COSPER     CLAY       09/30/15   11/27/15 DRUG COURT SANCTION
craft      belinda    07/28/15   07/29/15 DOMESTIC VIOLENCE 3RD                             500.00
CREWS      SAMUEL     04/24/15   08/01/15 PROBATION VIOLATION
CREWS      SAMUEL     04/24/15   08/01/15 ATTEMPT ELUDE                                     $2,500.00
Crown      Dale       07/13/15   08/05/15 CRIMINAL POSSESSION OF FORGER INSTRUMENT 2 TH 5000.00
CUMMINGS   JOELE      11/27/15   11/27/15 DUI                                               2500.00
CZIK       MATTHEW    09/16/15   11/14/15 PROBATION VIOLATION                               NO BOND
DALTON     JUSTIN     07/31/15   09/04/15 POSSESSION CONTROLLED SUBSTANCE                   10000.00
DALTON     JUSTIN     07/31/15   09/04/15 POSSESSION MARIJUANA 1st                          10000.00
DALTON     JUSTIN     07/31/15   09/04/15 PROBATION VIOLATION                               none
DALTON     JUSTIN     07/31/15   09/04/15 POSSESSION DRUG PARAPHERNELIA                     2500.00
DANIEL     TRANCIE    10/02/15   10/02/15 ASSAULT 2 ,LEAVING SCENE OF ACCIDENT WITH INJURIES$10,000
Davis      Brook      10/31/15   10/31/15 POSS MARIJ 2ND                                    2,500.00
Davis      Brook      10/31/15   10/31/15 POSS DRUG PARAPHERNALIA                           2,500.00
davis      william    08/15/15   08/16/15 DRIVING UNDER INFLUENCE                           2500.00
DEAN       MICHAEL    06/15/15   07/20/15 COMMUNITY CORRECCTIONS VIOLATION
DEAN       MICHAEL    06/15/15   07/20/15 FAILURE TO APPEAR child support                   2500.00
DEAN       MICHAEL    09/02/15            COMMUNITY CORRECTIONS VIOLATION                   NO BOND
DEJESUS    HARLEY     10/31/15   11/16/15 CONTRIBUTING TO DELIQUENCY OF A MINOR             5,000.00
DEJESUS    HARLEY     10/31/15   11/16/15 FURNISHING ALCOHOL TO UNDERAGE                    5000
DEJESUS    HARLEY     10/31/15   11/16/15 POSS. MARIJUANA 2ND                               2500.00
DEJESUS    HARLEY     10/31/15   11/16/15 POSS. DRUG PARA.                                  2500.00
DEJESUS    HARLEY     10/31/15   11/16/15 PROBATION VIOLATION                               NO BOND
DEJESUS    HARLEY     03/11/15   06/10/15 POSSESSION DRUG PARAPHERNELIA                     $2,500.00
DEJESUS    HARLEY     03/11/15   06/10/15 POSSESSION MARIJUANA SECOND                       $2,500.00
DEJESUS    HARLEY     03/11/15   06/10/15 POSSESSION CONTROLLED SUBSTANCE                   $10,000.00
DEJESUS    HARLEY     03/11/15   06/10/15 PROBATION REVOCATION
DEJESUS    VERNON     10/18/15            PROBATION REVOCATION                              NO BOND
DEJESUS    VERNON     10/18/15            FTA CRIMINAL TRESPASS 1ST                         NO BOND
delo       david      07/14/15   07/16/15 DRIVING UNDER INFLUENCE                           1000.00
delo       david      07/14/15   07/16/15 PUBLIC INTOXICATION                               100.00
delo       david      07/14/15   07/16/15 VPL                                               200.00
delo       david      07/16/15   08/01/15 DUI                                               1000.00
delo       david      07/16/15   08/01/15 VPL                                               200.00
delo       david      07/16/15   08/01/15 PUBLIC INTOXICATION                               100.00
DENHAM     JOSHUA     05/26/15   06/16/15 THEFT OF PROPERTY 2ND                             $5,000
DENHAM     JOSHUA     05/26/15   06/16/15 BURGLARY 3                                        $15,000
Dowis      Charlene   09/14/15   09/14/15 HARRASSMENT                                       $1000
dozier     robert     07/25/15   08/24/15 PROBATION VIOLATION                               NO BOND
Dozier     Rodney     06/24/15   07/09/15 COMMUNITY CORRECTIIONS HOLD                       NO BOND
Dozier     Rodney     09/02/15            COMMUNITY CORRECTIONS VIOLATION                   NO BOND
Draper     Larry      10/23/15   10/23/15 MENACING                                          $3,000.00
Draper     Larry      11/23/15            FTA MENACING                                      500.00 cash
Draper     Larry      07/17/15   07/28/15 POSSESSION CONTROLLED SUBSTANCE                   $ 10,000
Draper     Larry      07/17/15   07/28/15 POSSESSION DRUG PARAPHERNELIA                     $ 2, 500
Dufrene    Rhonda     10/20/15   11/16/15 POSSESS METHAMPHETAMINE
Dufrene    Rhonda     10/20/15   11/16/15 POSSESS DRUG PARA 1ST OFFENSE




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Dufrene       Rhonda        06/19/15   08/26/15 POSSESSION CONTROLLED SUBSTANCE                                    $10,000.00
Dupree        Joseph        07/21/15   07/22/15 THEFT OF PROPERTY 3RD                                              2500.00
Dupree        Joseph        07/21/15   07/22/15 CRIMINAL TRESPASS 3RD                                              500.00
Earl          Joseph        09/16/15   09/16/15 GJI {ASSAULT 2ND, CERTAIN PERSON FORBIDDEN POSSE $15,000.00
EAVES         JODI          07/07/15   07/07/15 HARASSMENT                                                         $500.00
EAVES         ROY           09/25/15   09/25/15 HARRASSMENT                                                        1000.00
Erickson      Arka          09/14/15   09/14/15 Willful Abuse of CHild                                             15,000.00
FAIRBANKS     ROBERT        10/06/15            PROBATION VIOLATION                                                NONE
FAIRBANKS     ROBERT        10/06/15            NWNI                                                               500.00
FAIRBANKS     ROBERT        10/06/15            NWNI                                                               500.00
Farrow        Aaron         06/26/15   07/01/15 FTA REC. STOLEN PROPERTY 1ST                                       NO BOND
FERGUSON      DEANNA        07/06/15   07/09/15 POSSESSION CONTROLLED SUBSTANCE                                    $10,000.00
FERGUSON      DEANNA        07/06/15   07/09/15 POSSESSION DRUG PARAPHERNELIA                                      $2500.00
FERGUSON      DEANNA        07/20/15   08/05/15 POSS OF CONTROLLED SUB                                             $10,000.00
FERGUSON      DEANNA        07/20/15   08/05/15 POSSESSION CONTROLLED SUBSTANCE                                    $10,000.00
FERGUSON      DEANNA        07/20/15   08/05/15 POSSESSION DRUG PARAPHERNELIA                                      $2500.00
FERRACCIO     RAY           09/03/15            PROBATION VIOLATION
FERRACCIO     RAY           09/03/15            POSSESSION CONTROLLED SUBSTANCE
FERRACCIO     RAY           09/03/15            POSSESSION DRUG PARAPHERNELIA
Ferrell       Robert        11/17/15   11/18/15 HARRASSMENT DV 3RD                                                 5000.00
FEW           MARCUS        09/09/15   10/28/15 FAILURE TO APPEAR                                                  2500
Fincher       Jason         02/17/15            HARASSING COMMUNICATIONS
Fincher       Jason         02/17/15            SORNA Act
Fincher       Jason         02/17/15            SORNA Act
FLORENCE      MARIO         06/04/15   06/05/15 FTA - POSS MARI 2ND                                                500.00
Floyd         Christopher   10/13/15   10/14/15 DV 3RD                                                             5000.00
Floyd         Christopher   10/13/15   10/14/15 WILLFUL ABUSE OF A CHILD UNDER 18                                  15000.00
FLOYD         YACOBIAN      07/09/15   07/09/15 BURGLARY 1ST                                                       50,000.00
FLOYD         YACOBIAN      07/09/15   07/09/15 THEFT OF PROPERTY 2ND                                              5,000.00
FORD          JARRED        06/03/15   06/04/15 FTA DRIVE W/SUSPEND                                                NO BOND
FOREMAN       JAMIE         06/10/15   06/25/15 FTA HARRASSING COMMUNICATION                                       $2500
FORTE         ROBERT        10/27/15   10/28/15 MANUFACTURING CONTROLLED SUBSTANCE
FORTENBERRY   KRISTY        08/25/15   09/08/15 FTA - TOP 3RD                                                      500.00 CASH
FORTENBERRY   RANDALL       07/23/15   07/24/15 DOM VIO 3RD HARRASSMENT                                            $5000.00
FOSTER        CHRISTOPHER   07/12/15   07/13/15 FTA POSS. MARIJUANA 2ND                                            NO BOND
FOSTER        CHRISTOPHER   07/12/15   07/13/15 FTA CHILD SUPPORT                                                  2500.00 + 1
FOSTER        CORNELIUS     10/09/15   10/09/15 ALTERING FIREARM IDENTIFICATION OR POSS.                           $10,000.00
FOSTER        CORNELIUS     10/09/15   10/09/15 RECKLESS ENDANGERMENT                                              5000.00
Foster        Jason         08/11/15   08/13/15 CHILD SUPPORT                                                      $2500
Foster        Jason         08/11/15   08/13/15 LICENSE REVOKE
GABRIEL       NICHOLAS      08/31/15   09/01/15 DV 3RD/ HARASSMENT                                                 5,000.00
GALLOPS       DAVID         10/13/15   11/10/15 FTA PFI 2nd X 3
Gallops       Keren         11/02/15   11/02/15 DISORDERLY CONDUCT                                                 $1000.00
garrett       bobby         10/18/15   10/18/15 HARASSMENT                                                         2500.00
Garrett       Courtney      07/09/15   08/13/15 POSSESSION DRUG PARAPHERNELIA                                      2500.00
Garrett       Courtney      07/09/15   08/13/15 POSSESSION CONTROLLED SUBSTANCE                                    10000.00
Garrett       Courtney      07/09/15   08/13/15 PROBATION VIOLATION                                                NONE
GEORGE        PATRICK       11/04/15   11/04/15 CRIMINAL TRESPASS 3RD                                              500.00
GETER         RICHARD       10/30/15   10/30/15 ASSAULT 3                                                          5,000.00
Gilham        James         07/13/15   07/15/15 DRUG COURT SANCTION
Gilham        James         08/14/15   08/17/15 drug court sanction                                                no bond
Gilliland     James         07/03/15   07/03/15 RECKLESS ENDANGERMENT                                              5000.00
GILMORE       JUSTIN        06/27/15   06/28/15 MINOR IN POSS. OF ALCOHOL                                          300.00
GILMORE       JUSTIN        06/27/15   06/28/15 ATTEMPT TO ELUDE
GILMORE       JUSTIN        06/27/15   06/28/15 PUBLIC INTOX                                                       100.00
GLENN         JERLESA       06/30/15   07/02/15 FTA-CRIM MISHIEF 3RD
GONZALES      ELLIOT        06/27/15   06/27/15 DUI                                                                1000
GONZALES      ELLIOT        06/27/15   06/27/15 VPL                                                                200
GONZALES      ELLIOT        06/27/15   06/27/15 IMPROPER PARKING
goodwin       joseph        11/02/15            FAILURE TO APPEAR                                                  2500.00
GORE          JAMES         06/10/15   07/01/15 POSSESSION CONTROLLED SUBSTANCE                                    10,000
GORE          JAMES         06/10/15   07/01/15 POSSESSION MARIJUANA                                               10,000
GORE          JAMES         06/10/15   07/01/15 POSSESSION DRUG PARAPHERNELIA                                      2,500
GORE          LARRY         07/09/15   07/09/15 Unlawful possession or receipt of controlled substances            $10,000.00
GORE          LARRY         07/09/15   07/09/15 Drug paraphernalia; use or possession; delivery or sale; forfeitur $2500.00
Gore          Michael       10/22/15   10/22/15 FTA THEFT 3RD                                                      NO BOND
GOSDIN        KEENON        06/25/15   06/25/15 HARRASSING COMMUNICATION                                           1,000
GOSDIN        KEENON        08/21/15   08/22/15 DISORDERLY CONDUCT                                                 500.00
GOSS          ROGER         06/10/15   06/11/15 POSSESSION CONTROLLED SUBSTANCE                                    10,000.00
gray          david         05/25/15   07/27/15 POSSESSION CONTROLLED SUBSTANCE                                    10000
gray          david         05/25/15   07/27/15 POSSESSION MARIJUANA                                               2500




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gray        david         05/25/15   07/27/15 POSSESSION DRUG PARAPHERNELIA            2500
Gray        Ricky         07/29/15   07/29/15 FAILURE TO APPEAR
GREEN       DARRICK       09/05/15   09/08/15 FTA DRIVING WHILE REVOKED                $250 cash
GREEN       DARRICK       09/05/15   09/08/15 FTA - NO/IMP TAG LIGHT
GREEN       DARRICK       09/05/15   09/08/15 FTA - DUI                                $1000 cash
GREEN       JOSEPH        05/28/15   07/26/15 ASSAULT 3RD DV
GREENE      KYLE          08/06/15   08/13/15 COMMUNITY CORRECTIONS HOLD               NO BOND
GRIDER      ROLANDO       03/04/15   06/01/15 PROBATION VIOLATION                      no bond
GRIFFIN     CHERYLE       10/11/15   11/17/15 OBSTRUCTION GOVT OPERATION
GRIFFIN     CHERYLE       10/11/15   11/17/15 FTA PUBLIC INTOX                         NONE
Gunter      KATHERINE     02/27/15   08/25/15 PROBATION VIOLATION                      NO BOND
Gunter      KATHERINE     02/27/15   08/25/15 PROMOTING PRISON CONTRABAND 2ND          $5000.00
HADDIX      KYLE          10/19/15   10/21/15 POSSESSION MARIJUANA                     $10,000.00
HADDIX      KYLE          10/19/15   10/21/15 POSSESSION DRUG PARAPHERNELIA            $2500.00
HADDIX      KYLE          10/19/15   10/21/15 POSSESSION CONTROLLED SUBSTANCE          $10,000.00
HADDIX      KYLE          10/19/15   10/21/15 MINOR IN POSSESSION                      $500.00
HALL        Samantha      11/25/15   11/25/15 FAILURE TO APPEAR                        $5000.00
HAMBRICK    ANTHONY       06/11/15   06/18/15 PROMOTING PRISON CONTRABAND 3rd
HAMBRICK    ANTHONY       06/11/15   06/18/15 DRIVING UNDER INFLUENCE
Hamilton    Matthew       04/21/15   07/02/15 COMMUNITY CORRECTIONS VIOLATION
HAMMOND     MICHAEL       06/30/15   06/30/15 DOMESTIC VIOLENCE HARASSMENT             5000.00
HAMNER      DONALD        06/03/15   06/29/15 THEFT OF PROPERTY 1ST                    $10,000.00
HAMNER      DONALD        06/03/15   06/29/15 ROBBERY 1ST                              $60,000.00
HAMRICK     RICKY         06/09/15   06/10/15 FTA DUI                                  NO BOND
HAND        RANDALL       11/10/15   11/17/15 FTA RECKLESS ENDANGERMENT                2500
HAND        RANDALL       11/10/15   11/17/15 FTA DRIVING REVOKED                      2500
Hann        Damon         06/18/15   06/20/15 POSS. CONTROLLED SUBSTANCE               10,000.00
Hann        Damon         06/18/15   06/20/15 POSS. DRUG PARA.                         2,500.00
Hann        Sarah         06/18/15   08/12/15 POSS CONTROLLED SUBSTANCE                $10,00.00
Hann        Sarah         06/18/15   08/12/15 POSS DRUG PARAPHERNALIA                  $2,500.00
Hardnett    Johnny        03/04/15   06/01/15 PROBATION VIOLATION                      NONE
Hardnett    Johnny        08/20/15   09/03/15 PROBATION VIOLATION                      NO BOND
HARDY       RALPH         11/27/15            FTA POSSESSION MARIJUANA 2ND             700.00
HARDY       RALPH         11/27/15            FTA ATTEMPT ELUDE                        561.00
Harman      Alexandra     07/29/15   07/29/15 FTA-DUI {CLEBURNE CO}
Harman      Alexandra     07/29/15   07/29/15 FTA-DUI {C;EBIRNE CO}
HARMON      KEVIN         07/26/15   08/11/15 PROBATION VIOLATION                      NO BOND
HARMON      RUBY          09/14/15   09/15/15 DV 3 criminal mischief 3rd               5,000.00
HARMON      RUBY          09/14/15   09/15/15 DV 2 assault 2nd                         20,000.00
HARPER      TERESA        10/31/15   10/31/15 POSS CONTROLL SUBSTANCE                  10,000.00
HARPER      TERESA        10/31/15   10/31/15 POSS MARIJ 2ND                           2,500.00
HARPER      TERESA        10/31/15   10/31/15 POSS DRUG PARAPHERNALIA                  2,500.00
HARPER      TERESA        10/31/15   10/31/15 TAMPERING W/PHYSICAL EVIDENCE            5,000.00
HARPER      TERESA        10/31/15   10/31/15 CONTRIBUTING TO DELIQUENCY OF MINOR      5,000.00
HARPER      TERESA        10/31/15   10/31/15 FURNISHING ALCOHOL TO UNDERAGE           5,000.00
HARRIS      DAVID         04/17/15   07/15/15 PROBATION VIOLATION                      NO BOND
HARRIS      TOMMY         02/21/15            AIAS WRIT OF ARREST                      NO BOND
HARRIS      TOMMY         02/21/15            CHILD SUPPORT
HARRIS      TOMMY         02/21/15            GJI UNLAWFUL IMPRISONMENT
HARRIS      TOMMY         02/21/15            GJI DVSTRANGULATION/SUF
HARRIS      TOMMY         02/21/15            GJI INTERFERE W/ DV ENERGENCY
HAWKINS     ERICA         11/09/15   11/10/15 POSSESSION OF FORGED INSTRUMENT 2ND.     5,000.00
HAYES       SHERICKA      07/21/15   07/22/15 PUBLIC INTOXICATION
Heard       Christopher   10/07/15   10/07/15 FTA- DRIVING W REVOKED                   500.00
Heard       Christopher   10/07/15   10/07/15 FTA-IMPROPER LIGHTS                      500.00
heard       john          07/09/15   07/13/15 DRIVING UNDER INFLUENCE                  2500.00
heard       john          07/09/15   07/13/15 CRIMINAL MISCHIEF 3RD                    $2500.00
Heard       Kristen       08/04/15   08/04/15 DV 3RD                                   $5000.00
HEARD       MARSHA        06/28/15   06/28/15 NWNI                                     $500.00
Heard       Mollie        08/04/15   08/04/15 DV 3RD                                   $5000.00
Heard       Montoreous    08/23/15   08/24/15 IN FOR COURT                             NONE
Heard       Montoreous    06/21/15   06/22/15 CAPITAL MURDER                           NONE
Heard       Montoreous    06/21/15   06/22/15 CAPITAL MURDER                           NONE
Heard       Montoreous    06/21/15   06/22/15 attempted capital murder                 NONE
heflin      rodney        08/11/15   11/18/15 FTA RECEIVING STOLEN PROPERTY
heflin      rodney        08/11/15   11/18/15 PROBATION VIOLATION
HENDERSON   DANNY         04/16/15   10/28/15 PROBATION VIOLATION
Hendley     Brittany      06/03/15   06/22/15 PROBATION VIOLATION                      $2500.00
HENDON      JUSTIN        07/03/15   07/06/15 POSS.MARJIUANA 1ST                       10,000.00
HENDON      JUSTIN        07/03/15   07/06/15 POSS.DRUG PARA.                          2500.00
HENDRICKS   CHRISTOPHER   08/25/15   08/25/15 NWNI                                     500.00




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HENDRICKS    CHRISTOPHER   08/25/15   08/25/15 NWNI                                           500.00
hendricks    shannon       08/11/15   08/12/15 POSSESSION CONTROLLED SUBSTANCE                10000.00
hendricks    shannon       08/11/15   08/12/15 POSSESSION DRUG PARAPHERNELIA                  2500.00
hendricks    shannon       08/11/15   08/12/15 POSSESSION DRUG PARAPHERNELIA                  2500.00
hendricks    shannon       08/11/15   08/12/15 ILLEGAL POSS OF PRESCRIPTION MEDS              $5000
hendricks    shannon       08/11/15   08/12/15 ILLEGAL POSS OF PRESCRIPTION DRUGS             $5000
Hendricks    Wendell       11/08/15            FTA CHILD SUPPORT                              2500.00
Hendrix      Timothy       01/30/15   06/10/15 PROBATION VIOLATION
Hendrix      Timothy       01/30/15   06/10/15 PROBATION VIOLATION
Hendrix      Timothy       01/30/15   06/10/15 PROBATION VIOLATION                            NO BOND
HENRY        JUSTIN        08/20/15   09/18/15 FAILURE TO APPEAR
HENRY        STEVEN        08/27/15   08/28/15 DUI                                            2500.00
hernandez    andy          10/30/15   10/31/15 MINOR IN POSS. BY CONSUMPTION                  500.00
hernandez    andy          10/30/15   10/31/15 POSS. MARIJUANA 2ND                            2500.00
hernandez    andy          10/30/15   10/31/15 POSS.DRUG PARA.                                2500.00
hernandez    andy          07/04/15   07/04/15 MINOR IN POSSESSION ALCOHAL BY CONSUMPSION     500.00
HERREN       KRISTEN       05/20/15   07/17/15 PROBATION VIOLATION                            NO BOND
Herren       Kyle          10/20/15            POSSESSION CONTROLLED SUBSTANCE                10000.00
Herren       Kyle          10/20/15            POSSESSION MARIJUANA 1st                       10000.00
Herren       Kyle          10/20/15            POSSESSION DRUG PARAPHERNELIA                  2500.00
Higgins      Lynear        07/01/15   09/28/15 DRIVING UNDER INFLUENCE                        no bond
higgins      tito          09/04/15   09/17/15 CRIMINAL TRESPASS                              2,500.00
higgins      tito          09/04/15   09/17/15 CRIMINAL MISCHIEF                              7,500.00
HILL         COURTNEY      08/24/15   10/28/15 POSSESSION FORGED INSTRUMENT                   $5,000
HILL         COURTNEY      08/24/15   10/28/15 POSSESSION FORGED INSTRUMENT                   $5,000
HILL         COURTNEY      08/24/15   10/28/15 POSSESSION FORGED INSTRUMENT                   $5,000
HILL         COURTNEY      08/24/15   10/28/15 POSSESSION FORGED INSTRUMENT                   $5,000
HILL         COURTNEY      08/24/15   10/28/15 POSSESSION FORGED INSTRUMENT                   $5,000
HILL         COURTNEY      08/24/15   10/28/15 THEFT 1                                        $10,000
hill         james         05/05/15   06/01/15 POSS. OF MARIJUANA FIRST                       10,000
hill         james         05/05/15   06/01/15 METHAMPHETAMINE-POSSESS                        10,000
Hill         Stacey        10/14/15   10/14/15 THEFT PROP 2ND                                 $5,000.00
Hill         William       07/18/15   09/15/15 PROBATION VIOLATION                            $5000
HOBBS        JOSEPH        07/23/15   08/03/15 COMMUNITY CORRECTIONS VIOLATION                NO BOND
HODGES       ROBERT        10/25/15   10/25/15 POSSESSION MARIJUANA                           $10,000.00
Holloway     Jeremy        10/19/15   10/19/15 DV 3RD {HARRASSMENT}                           $5,000.00
Holloway     Jeremy        10/19/15   10/19/15 DV 3RD {HARRASSMENT}                           $5,000.00
HORNER       THOMAS        09/14/15   11/04/15 GJI THEFTOF PROPERTY 1ST.                      10000.00
HORNER       THOMAS        09/14/15   11/04/15 GJI THEFT OF PROPERTY 1ST                      25000.00
HORNER       THOMAS        09/14/15   11/04/15 GJI BURGLARY 3RD
HOUSTON      BRIAN         05/29/15   07/24/15 FTA CHILD SUPPORT                              $5000.00 + 1
HOUSTON      DELVAN        09/13/15   09/13/15 THEFT BY DECEPTION                             5000.00
HOUSTON      DELVAN        11/10/15   11/10/15 PROBATIO VIOLATION                             NONE
HOUSTON      EDDIE         05/15/15   08/24/15 POSS.DRUG PARA                                 NO BOND
HOUSTON      EDDIE         05/15/15   08/24/15 PROBATION VIOLATION
HUDDLESTON   SANDRA        05/06/15   08/03/15 PROBATION VIOLATION                            NONE
hudson       walter        06/12/15   06/13/15 DRIVING UNDER INFLUENCE                        2500.00
HUGHES       AMANDA        11/08/15   11/09/15 DRIVING UNDER INFLUENCE                        $10,000
Hughley      Travis        06/19/15   06/23/15 FTA POSS MARIJUANA                             $2500.00
Huguley      Demarco       08/24/15   08/31/15 FTA POSS/REC CONTR SUBS                        NO BOND
Huguley      Demarco       09/29/15   10/12/15 DRUG COURT SANCTION                            NO BOND
HUNTER       CURTIS        08/06/15   11/26/15 FTP{POSS MARI 2ND}
HUNTER       CURTIS        08/06/15   11/26/15 FTP {HARRASSMENT}
HUNTER       CURTIS        08/06/15   11/26/15 FTP {HARRASSMENT}
HUNTER       CURTIS        08/06/15   11/26/15 FTP {ASSAULT #RD}
HUNTER       CURTIS        08/06/15   11/26/15 FTA {POSS MARIJUANA 1ST}                       no bond
HUTCHINSON   KELLIE        08/22/15   08/22/15 PUBLIC INTOXICATION                            $500.00
Hutchinson   Tina          11/19/15            PROBATION VIOLATION                            NO BOND
Hutchinson   Tina          11/19/15            FTA POSS CONTROLLED SUBSTANCE                  NO BOND
Hutchinson   Tina          11/19/15            FTA POSS CONTROLLED SUBSTANCE                  NO BOND
HYATT        ADAM          06/10/15   07/08/15 DRUG COURT VIOLATION
JENKINS JR   JACOB         08/22/15   08/23/15 DUI                                            2500.00
JENKINS JR   JACOB         08/22/15   08/23/15 OPEN CONTAINER                                 500.00
Johnson      Angela        07/12/15   07/13/15 FTA-DRIVING REVOKED
JOHNSON      jerald        09/03/15   09/04/15 PUBLIC INTOXICATION                            $500.00
Johnson      Linwood       09/03/15   09/03/15 POSSESSION DRUG PARAPHERNELIA                  $2500.00
Johnson      Linwood       09/03/15   09/03/15 POSSESSION CONTROLLED SUBSTANCE                $10,000.00
Johnson      Linwood       09/14/15   11/16/15 FTA POSS. CONT. SUB.                           revoked
Johnson      Linwood       09/14/15   11/16/15 FTA POSS. DRUG PARA.                           revoked
Johnson      Linwood       09/14/15   11/16/15 POSS. OF CONT. SUB.
Johnson      Linwood       09/14/15   11/16/15 POSS.DRUG PARA




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Johnson     Linwood       09/14/15   11/16/15 CHILD SUPPORT
Johnson     Linwood       09/14/15   11/16/15 POSSESSION CONTROLLED SUBSTANCE
JOHNSON     QUANDARIS     06/29/15   06/30/15 PROBATION VIOLATION                             NO BOND
Johnson     Scott         05/04/15   07/24/15 FAILURE TO APPEAR CHILD SUPPORT                 $5,000.00 + 1
Johnson     Steven        03/12/14            MANSLAUGHTER
Johnson     Steven        03/12/14            Assault 1st                                     GJI
Johnson     Steven        03/12/14            Assault 1st                                     GJI
Johnson     Steven        03/12/14            Assault 3rd                                     GJI
JOHNSON     TOMMY         09/14/15   09/15/15 FTA RECIVING STOLEN PROPERTY                    NO BOND
JONES       CHRISTOPHER   05/21/15   08/19/15 PROBATION VIOLATION                             NONE
KEITH       BILLY         11/12/15            SODOMY 1ST DEGREE
KEITH       BILLY         11/12/15            RAPE 1ST DEGREE
KEITH       BILLY         11/12/15            ENTICING CHILD TO ENTER VECHILE
kelley      charline      05/22/15   08/11/15 CHEMICAL ENDANGERMENT OF A CHILD                10,000
kelley      charline      05/22/15   08/11/15 POSSESSION CONTROLLED SUBSTANCE METH            10,000
kelley      charline      05/22/15   08/11/15 ILLEGAL POSSESSION OF PRESCRIPTION DRUGS        5,000
kelley      charline      05/22/15   08/11/15 POSSESSION DRUG PARAPHERNELIA                   2,500
KIMBLE      BENNY         11/19/15   11/23/15 PUBLIC INTOXICATION                             $500.00
KIMBLE      BENNY         11/19/15   11/23/15 F.T.A. CHILD SUPPOURT                           $2500
KIMBLE      BENNY         11/19/15   11/23/15 PROBATION REVOCATION WRIT                       NO BOND
kimbrough   sandra        07/28/15   07/29/15 DRIVING UNDER INFLUENCE                         1000.00
kimbrough   sandra        07/28/15   07/29/15 VPL                                             200.00
KIRBY       CHRISTOPHER   09/14/15   09/14/15 DESTRUCTION OF STATE PROPERTY                   $5000
Kirby       Christopher   08/26/15   08/27/15 POSS.DRUG PARA                                  2500.00
KIRBY       CHRISTOPHER   08/26/15   09/03/15 COMMUNITY CORRECTIONS VIOLATION                 NO BOND
KIRBY       CHRISTOPHER   10/26/15            COMMUNITY CORRECTIONS VIOLATION                 NONE
KNIGHT      CHRISTOPHER   11/23/15            FTA BAIL JUMPING 2ND                            500.00 CASH
KNIGHT      DOREENA       04/07/15   06/19/15 COMMUNITY CORRECTIONS VIOLATION
KNIGHT      DOREENA       08/17/15   09/17/15 COMMUNITY CORRECTIONS VIOLATION
KNIGHT      LORETTA       08/31/15   08/31/15 NWNI                                            500.00
KNIGHT      LORETTA       09/03/15   09/03/15 NWNI                                            500.00
KNIGHT      LORETTA       11/03/15   11/04/15 FTA{nwni}                                       480.00
KNIGHT      LORETTA       11/03/15   11/04/15 FTA{nwni}                                       99.62
KNIGHT      MARCUS        10/31/15   10/31/15 DRIVING UNDER INFLUENCE                         2,500.00
Knight      Shane         08/09/15   08/09/15 RESISITING ARREST                               2500.00
Knight      Shane         08/09/15   08/09/15 ATTEMPT TO ELUDE                                2500.00
Knight      Shane         08/09/15   08/09/15 ASSAULT 2ND ON POLICE OFFICER                   15000.00
Knight      Shane         05/18/15   06/10/15 RESISTING ARREST                                2500
Knight      Shane         05/18/15   06/10/15 DISORDERLY CONDUCT                              1000
Knight      Shane         05/18/15   06/10/15 PROBATION VIOLATION
Knight      Shane         11/05/15   11/06/15 FTC-DISORDERLY CONDUCT                          NONE
Knight      Shane         11/05/15   11/06/15 FTC-RESISTING ARREST                            NONE
Knight      Shane         08/11/15   08/17/15 DISORDERLY CONDUCT                              $1000 APPEAL BOND
Knight      Shane         08/11/15   08/17/15 RESISTING ARREST                                $1000 APPEAL BOND
KORPORAL    JERALD        08/31/15   08/31/15 PROBATION VIOLATION                             no bond
LAGRANGE    JOSEPH        09/03/15   09/04/15 SEXUAL ABUSE OF CHILD LESS THAN 12YRS           30000.00
LAGRANGE    JOSEPH        09/03/15   09/04/15 POSSESSION MARIJUANA 2ND                        2500.00
Langley     Christopher   11/23/15            RECEIVING STOLEN PROPERTY 3RD                   2500.00
Langley     Christopher   11/23/15            THEFT OF PROPERTY 1ST                           10,000.00
Langley     Christopher   11/23/15            POSSESSION CONTROLLED SUBSTANCE METH            10000.00
Langley     Christopher   11/23/15            POSSESSION CONTROLLED SUBSTANCE PILL            10000.00
Langley     Christopher   11/23/15            Certain Person Forbidden to possess Firearm     5000.00
Langley     Christopher   11/23/15            ATTEMPTING TO ELUDE                             2500.00
Langley     Christopher   11/23/15            PAROLE VIOLATION                                NO BOND
Langley     Shaw          11/23/15            POSSESSION CONTROLLED SUBSTANCE                 10,000
Langley     Shaw          11/23/15            POSSESSION CONTROLLED SUBSTANCE                 10,000
Langley     Shaw          11/23/15            ATTEMPT ELUDE                                   2,500
Langley     Shaw          11/23/15            THEFT 3                                         2,500
Langley     Shaw          11/23/15            THEFT 1                                         10,000
Langley     Shaw          11/23/15            TRAFFICKING CANNIBIS                            REVOCATION
Langley     Shaw          11/23/15            POSSESSION CONTROLLED SUBSTANCE                 REVOCATION
Langley     Shaw          11/23/15            POSSESSION CONTROLLED SUBSTANCE                 10,000
Langley     Shaw          11/23/15            POSSESSION DRUG PARAPHERNELIA                   2500
Langston    Gary          07/17/15   10/24/15 CHILD SUPPORT
Langston    Gary          07/17/15   10/24/15 PROBATION VIOLATION                             NONE
LAWSON      JEFFERY       11/25/15            FAILURE TO PAY                                  NO BOND
LEDBETTER   TORI          08/14/15   10/28/15 PROBATION VIOLATION                             NO BOND
LEWIS       ASHLEY        10/23/15   10/26/15 DUI                                             2,500.00
LEWIS       CEDRIC        08/16/15   08/17/15 FTA POSS OF MARIJ 1 ST                          $2500
LEWIS       JAMIE         06/30/15   07/02/15 FTA CHILD SUPPORT                               $2500.00 +1
Lewis       Jason         06/26/15   06/26/15 FTA CHILD SUPPORT                               $2,500.00 + 1




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Lewis         Jason        06/26/15   06/26/15 FTA CHILD SUPPORT                         $2,500.00 + 1
Lewis         Jason        06/26/15   06/26/15 FTA CHILD SUPPORT                         $2,500.00 + 1
Lewis         Mitchell     08/11/15   10/06/15 CHILD SUPPORT                             $2500 + 1
LEWIS         MITCHELL     11/09/15   11/09/15 FAILURE TO APPEAR                         $2500.00
LEWIS         MITCHELL     11/09/15   11/09/15 FTA CHILD SUPPORT                         2500.00
LOPEZ VELASQUEOLMAN IVAN   09/12/15   09/14/15 DOMESTIC VIOLENCE 3rd                     $5,000.00
LOPEZ VELASQUEOLMAN IVAN   09/12/15   09/14/15 SHOOTING FIREARM INTO UNOCCUPIED VEH      $25,000.00
LOYD          LEONARD      08/26/15   08/27/15 POSS.DRUG PARA                            2500.00
LUNDY         WILLIE       08/08/15   08/09/15 DUI                                       1000.00
LUNDY         WILLIE       08/08/15   08/09/15 RECKLESS DRIVING
LUNDY         WILLIE       08/08/15   08/09/15 EXPIRED TAG
MACON         JOSEPH       06/12/15   07/13/15 POSSESSION DRUG PARAPHERNELIA             $2,500.00
Malphus       Charles      11/04/15   12/03/15 TOP 2ND                                   5,000.00
Marable       Patrick      11/09/15            FTA CHILD SUPPORT                         2500.00
Marable       Patrick      11/09/15            FTA CHILD SUPPORT                         2500.00
Marable       Patrick      09/03/15   10/06/15 FTA CHILD SUPPORT                         2500.00+1
Marable       Patrick      09/03/15   10/06/15 FTA CHILD SUPPORT                         2500.00+1
Marable       Patrick      06/22/15   08/11/15 CHILD SUPPORT                             $2500 + 1
Marable       Patrick      06/22/15   08/11/15 CHILD SUPPORT                             $2500 + 1
marable       timothy      07/23/15   07/24/15 FTA DRIVING WHILE REVOTE                  $500 O R BOND
marable       timothy      07/23/15   07/24/15 ASSAULT 3RD                               5,000.00
marable       timothy      07/23/15   07/24/15 FTA DUI                                   $500 O R BOND
marable       timothy      08/07/15   08/09/15 DUI                                       2500.00
MARABLE       TIMOTHY      10/05/15   10/09/15 DRIVING REVOKED
MARABLE       TIMOTHY      10/05/15   10/09/15 DRIVING UNDER INFLUENCE                   $500.00
MARLER        MONIKA       06/21/15   06/21/15 POSS DRUG PARA                            2500.00
MARLER        MONIKA       06/21/15   06/21/15 POSS MARIJUANA 2ND                        2500.00
MASDON        JACKIE       08/22/15   08/23/15 OPEN CONTAINER                            500.00
Mason         Stanley      08/27/15   08/28/15 POSSESSION MARIJUANA                      2500.00
Mason         Stanley      08/27/15   08/28/15 ATTEMPT ELUDE                             2500.00
Mason         Stanley      08/27/15   08/28/15 giving false name                         2500.00
MCCARLEY      LINDSEY      08/10/15   10/07/15 POSS. CONTROLLED SUB.                     10000.00
MCCARLEY      LINDSEY      08/10/15   10/07/15 RECIEVING STOLEN PROPERTY 1ST             10000.00
MCCARLEY      LINDSEY      08/10/15   10/07/15 ATTEMPT TO ELUDE                          2500.00
MCCARLEY      LINDSEY      08/10/15   10/07/15 RECKLESS DRIVING                          TICKET
MCCARLEY      LINDSEY      08/10/15   10/07/15 DRIVING ON EXPIRED LICENSE                TICKET
MCCARLEY      LINDSEY      08/10/15   10/07/15 REASONABLE AND PRUDENT SPEEDING           TICKET
MCCARLEY      LINDSEY      08/10/15   10/07/15 FAILURE TO APPEAR                         $2,500.00 DEF = 1
mcdowell      brandon      06/11/15   08/09/15 DRIVING UNDER INFLUENCE                   2500.00
mcdowell      brandon      06/11/15   08/09/15 FTA{DRIVING NO LICENSE}                   NONE
MCFARLIN      ANGELICA     10/17/15   10/26/15 FTA- NO DL                                NONE
MCFARLIN      ANGELICA     10/17/15   10/26/15 FTA-IMPROPER TAG                          NONE
mcmanus       michael      01/07/15   08/17/15 FTA {PROBATION VIOLATION}                 $1,000.00
MEADOWS       JAMES        06/11/15   06/12/15 IN FROM COURT
MEADOWS       JAMES        07/08/15   08/24/15 PROBATION VIOLATION                       NO BOND
MILAM         ROBERT       03/09/15   07/02/15 POSSESSION CONTROLLED SUBSTANCE           $10,000.00
MILAM         RODNEY       06/11/15   06/11/15 POSSESSION CONTROLLED SUBSTANCE           $10,000.00
MILAM         RODNEY       06/11/15   06/11/15 POSSESSION CONTROLLED SUBSTANCE           $10,000.00
MILAM         RODNEY       11/06/15   11/17/15 DRUG COURT {SANCTION}                     NONE
MILES         NICKOLAS     08/12/15            PROBATION VIOLATION                       NO BOND
MILES         NICKOLAS     08/12/15            POSSESSION SELL PRECURSOR                 15,000
MILES         NICKOLAS     08/12/15            DRUG OFFENDER EPHEDRINE                   5,000
MILLER        DONNA        06/10/15   06/17/15 CHEMICAL ENDANGER TO A CHILD              10.000.00
MILLER        DONNA        06/10/15   06/17/15 COMMUNITY CORRECTIONS VIOLATION           NO BOND
MILLER        LLOYD        05/21/15   08/18/15 PROBATION VIOLATION                       NO BOND
Mitchell      Hunter       08/22/15   08/22/15 MINOR IN POSS. BY CONSUMPTION             500.00
Mitchell      Hunter       08/22/15   08/22/15 PUBLIC INTOXICATION                       500.00
Mitchell      Jerry        11/25/15   12/01/15 DRIVING UNDER INFLUENCE                   2500.00
Mitchell      Jerry        11/25/15   12/01/15 COMMUNITY CORRECTIONS VIOLATION
MITCHELL      JOSHUA       10/02/15   10/05/15 FTA GIVING FALSE NAME                     $1000 + 1
MIZE          THOMAS       08/31/15   09/11/15 SEX OFFENDER ACT                          15,000.00
MOON          GREGORY      07/20/15   11/16/15 BURGLARY THIRD
MOON          GREGORY      07/20/15   11/16/15 T.O.P THIRD
MOON          GREGORY      07/20/15   11/16/15 PROBATION VIOLATION
MOON          KIMBERLY     04/17/15   07/17/15 POSS OF DRUG PARA                         $2500.00
MOON          KIMBERLY     04/17/15   07/17/15 PROBATION VIOLATION                       NONE
Moore         Jason        09/16/15   11/16/15 COMMUNITY CORRECTIONS VIOLATION           NO BOND
MOORE         KRISTY       07/19/15   07/19/15 UNAUTHORIZED USE OF VEHICLE               $5,000.00
MOORE         KRISTY       07/28/15   07/28/15 Criminal trespass in the first degree     $2500.00
MOORE         KRISTY       07/28/15   07/28/15 Criminal mischief in the first degree     $7500.00
MORGAN        EDDIE        06/04/15   07/16/15 PROBATION VIOLATION                       no bond




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Morgan     REMON         06/26/15   07/10/15 FTA CHILD SUPPORT                                5000.00
Morgan     REMON         06/26/15   07/10/15 FTA CHILD SUPPORT                                2500.00
Morgan     REMON         06/26/15   07/10/15 POSS. CONTROLLED SUBSTANCE                       10000.00
Morgan     REMON         06/26/15   07/10/15 POSS. DRUG PARA.                                 2500.00
Morgan     REMON         08/11/15   08/11/15 CHILD SUPPORT                                    $2500 + 1
MORGAN     TRAYMON       05/12/15   11/04/15 GJI ESCAPE 2ND                                   $15,000.00
MORGAN     TRAYMON       05/12/15   11/04/15 GJI TOP 2ND / BURGLARY 3RD                       $20,000.00
MORRISON   BRENTON       10/28/15            PROBATION VIOLATION                              NO BOND
MORRISON   JOHN          07/06/15   07/09/15 FTP YOUTHFUL OFFENDER                            $2500
MORRISON   JOHN          07/06/15   07/09/15 COMMUNITY CORRECTIONS VIOLATION
MORRISON   JONATHON      09/17/15   09/18/15 DRIVING UNDER INFLUENCE                          2500.00
nations    barry         11/09/15   11/10/15 POSSESSION CONTROLLED SUBSTANCE                  no bond
nations    barry         11/09/15   11/10/15 THEFT 2
nations    barry         11/09/15   11/10/15 POSSESSION DRUG PARAPHERNELIA
NEFF       RICHARD       07/07/15   09/14/15 RECEIVING STOLEN PROPERTY THIRD                  $2,500.00
NEFF       RICHARD       07/07/15   09/14/15 PROBATION VIOLATION                              NONE
NEFF       Ryan          11/15/15   11/16/15 DUI                                              2500.00
NEFF       SAVANNAH      10/06/15            FTA-PUBLIC INTOX                                 NONE
NEFF       SAVANNAH      10/06/15            THEFT 2                                          $5000
NEFF       SAVANNAH      10/06/15            BURGLARY 3                                       $15000
NEFF       SAVANNAH      07/07/15   07/09/15 PUBLIC INTOX                                     $500.00
neiger     william       06/01/15   06/01/15 harassment                                       2500.00
NELSON     ERIC          07/19/15   07/23/15 FAILURE TO APPEAR POSS OF CONTR SUB              NONE
NOBBLEY    WILLIAM       10/17/15   10/21/15 RECKLESS ENDANGERMENT                            5,000.00
NOLEN      BILLY         07/07/15   07/07/15 THEFT 2                                          $5,000.00
NOLEN      MIRANDA       07/07/15   07/07/15 FTA POSSESSION DRUG PARAPHERNELIA
NOLES      ZACKERY       04/14/15   07/10/15 POSSESSION DRUG PARAPHERNELIA                    2,500.00
NOLES      ZACKERY       04/14/15   07/10/15 PROBATION VIOLATION                              no bond
NORTON     FRANK         09/24/15   09/25/15 POSS. CRACK COCAINE                              10000.00
NUNN       COURTNEY      11/22/15   11/22/15 FTC {CHILD SUPPORT}                              $2500.00
nunn       nickie        07/31/15   07/31/15 NWNI                                             500.00
NUNN       WILLIE        05/03/15   11/02/15 PUBLIC INTOX
NUNN       WILLIE        05/03/15   11/02/15 CRIMINAL TRESPASS 1ST
NUNN       WILLIE        11/04/15            THEFT 3                                          1000.00
ONEAL      KEYONDIA      09/04/15   09/04/15 FTA CHILD SUPPORT                                $2500.00
Oneal      Leroy         11/02/15   11/06/15 FAILURE TO APPEAR                                2500.00
Oneal      Leroy         06/29/15   07/07/15 FAILURE TO APPEAR dui                            $2500.00
Oneal      Leroy         06/29/15   07/07/15 FAILURE TO APPEAR assault                        $2500.00
OSBORNE    WILLIAM       08/20/15   08/21/15 TRAFFICKING CANNIBIS                             50000.00
OSBORNE    WILLIAM       08/20/15   08/21/15 POSSESSION DRUG PARAPHERNELIA                    2500.00
OSBORNE    WILLIAM       08/20/15   08/21/15 TAMPERING W EVIDENCE                             5000.00
Parker     Cassandra     10/10/15   10/13/15 FTA PUBLIC INTOX, RESISTING ARREST               $2500
Parker     Cassandra     10/10/15   10/13/15 FTA RESISTING ARREST
PARKER     MICHAEL       09/16/15   09/16/15 GJI {ASSAULT 2ND, BURGLARY 1ST}                  $25,000.00
Parker     Phillip       10/05/15   10/19/15 FTA BURGLARY 3RD                                 NO BOND
Parker     Phillip       10/05/15   10/19/15 FTA THEFT 2ND                                    NO BOND
PARRETT    MICHEAL       08/17/15   08/18/15 VIOLATION OF GEORGIA SEXUAL OFFENDER REGISTRY
Pauley     Latrina       10/06/15   10/08/15 FTA CHILD SUPPORT                                2500.00
Payne      Faye          09/08/15   09/08/15 BURGLARY 3                                       $15,000
Payne      Faye          09/08/15   09/08/15 THEFT 2                                          $5,000
PERRY      BOBBY         09/14/15   09/14/15 RAPE 1ST DEGREE                                  30,000.00
Perry      Bobby         09/14/15   09/14/15 RAPE 1ST, SEX ABUSE 1ST x 3                      60,000.00
Perry      Bobby         09/14/15   09/14/15 SEXUAL ABUSE 1ST
Perry      Bobby         09/14/15   09/14/15 SEXUAL ABUSE 1ST
Perry      Bobby         09/14/15   09/14/15 SEXUAL ABUSE 1ST
Perry      Lettie        09/14/15   09/14/15 WILLFUL ABUSE OF A CHILD                         50,000.00
PHILLIPS   BENJAMIN      08/11/15   08/11/15 CHILDSUPPORT                                     $2500 + 1
PHILLIPS   CHRISTOPHER   07/11/15   07/13/15 RECKLESS ENDANGERMENT                            5000.00
PHILLIPS   CHRISTOPHER   07/11/15   07/13/15 DUI                                              2500.00
PHILLIPS   CHRISTOPHER   07/11/15   07/13/15 MINOR IN POSS. BY CONSUMPTION                    500.00
PHILLIPS   CHRISTOPHER   09/15/15   09/15/15 MINOR IN POSSESSION BY CONSUMPTION               1000 appeal bond
PHILLIPS   CHRISTOPHER   09/15/15   09/15/15 DUI                                              5000 appeal bond
PHILLIPS   CHRISTOPHER   09/15/15   09/15/15 RECKLESS ENDANGERMENT                            10,000 appeal bond
PHILLIPS   CHRISTOPHER   10/30/15   11/01/15 DUI/ MINOR IN POSSESION/ RECKLESS ENDANGERMENT   NONE
Phillips   Evandor       10/29/15   10/29/15 FAILURE TO APPEAR CHILD SUPPORT                  2500.00
Phillips   JIMMY         10/06/15   10/28/15 PROBATION VIOLATION                              NONE
Phillips   JIMMY         05/19/15   08/17/15 Probation Violation Warrant
PHILLIPS   PATRICK       10/06/15   10/06/15 CHILDSUPPORT                                     $2500.00+1
Pike       James         08/13/15   08/13/15 PISTOL WITHOUT A PERMIT                          $2,500.00
pike       keith         07/26/15   07/26/15 obstruction of a government operation            5000.00
PIKE       KENNETH       07/26/15   07/27/15 OBSTRUCTION OF A GOVT. OPERATION                 5000.00




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PIKE          KEVIN         07/26/15   07/29/15 ATTEMPT TO ELUDE                            2500.00
PIKE          KEVIN         07/26/15   07/29/15 RESISTING ARREST                            2500.00
PIKE          KEVIN         07/26/15   07/29/15 FTA CHILD SUPPORT                           $2500.00 + 1
PIKE          KEVIN         07/26/15   07/29/15 FTA CHILD SUPPORT                           $2500.00 + 1
PIKE          RANDAL        04/07/15   07/11/15 POSSESSION MARIJUANA 1ST                    $15,000.00
PIKE          RANDAL        04/07/15   07/11/15 ESCAPE 3RD                                  $15,000.00
PIKE          RANDAL        04/07/15   07/11/15 ASSAULT 2                                   $15,000.00
PIKE          RANDAL        04/07/15   07/11/15 POSSESSION CONTROLLED SUBSTANCE             $15,000.00
PIKE          RANDAL        04/07/15   07/11/15 RESISTING ARREST                            $6,000.00
PIKE          RANDAL        04/07/15   07/11/15 ATTEMPT ELUDE                               $6,000.00
PIKE          RANDAL        04/07/15   07/11/15 THEFT 3                                     $6,000.00
PIKE          RANDAL        04/07/15   07/11/15 POSSESSION DRUG PARAPHERNELIA               $6,000.00
PIKE          RANDAL        04/07/15   07/11/15 PROBATION VIOLATION
Pittman       Tammy         06/22/15   06/22/15 THEFT OF LOST PROPERTY 2ND                  $5000.00
POGUE         EARL          06/05/15   07/16/15 PROBATION VIOLATION                         none
POLAND        DANIEL        06/13/15   06/13/15 POSS. MARIJUANA 2ND                         2500.00
POLAND        DANIEL        06/13/15   06/13/15 POSS. CONTROLLED SUBSTANCE                  10000.00
POLAND        DANIEL        06/13/15   06/13/15 POSS. DRUG PARA.                            2500.00
POLAND        DANIEL        06/13/15   06/13/15 MINOR IN POSS. ALCOHOL                      500.00
POOLE         TERRANCE      08/15/15   08/17/15 FTP POSSESSION OF DRUG PARA                 NO BOND
Porterfield   Torrey        10/02/15   11/10/15 BURGLARY 3RD                                15000.00
Porterfield   Torrey        10/02/15   11/10/15 THEFT OF PROPERTY 1ST                       10000.00
POWERS        LORI          10/13/15   10/21/15 FTA ILL POSS CREDIT/DEBIT X3                NONE
POWERS        LORI          10/13/15   10/21/15 DV 3rd MENACING                             $5,000.00
Price         Christopher   07/20/15   07/21/15 DV 3RD                                      5000
Puckett       Kevin         08/28/15   08/31/15 FAILURE TO APPEAR/ CHILD SUPPORT            2500.00
PUCKETT       LARRY         10/14/15   10/24/15 POSSESSION DRUG PARAPHERNELIA               $2500
PUCKETT       LARRY         10/14/15   10/24/15 DOMESTIC VIOLANCE 3RD                       $5000
PUCKETT       LARRY         10/14/15   10/24/15 POSSESSION CONTROLLED SUBSTANCE             $10000
RAGAN         JERRY         08/25/14   10/21/15 ATTEMPT BURGLARY 3RD                        30,000.00
REESE         TERRANCE      07/24/15   08/24/15 FAILURE TO APPEAR                           2,500.00
REESE         TERRANCE      07/24/15   08/24/15 FAILURE TO APPEAR
REESE         TERRANCE      07/24/15   08/24/15 FAILURE TO APPEAR
REICH         SHARLET       05/22/15   06/22/15 FTA HINDERING PROSECUTION 1ST               NONE
REICH         SHARLET       05/22/15   06/22/15 FTA POSSESSION MARIJUANA                    NONE
REID          TRACI         08/23/15            UNLAWFUL BREAK/ENTER VEHICLE                $15,000
REID          TRACI         08/23/15            THEFT OF PROPERTY 3RD                       $2,500
REID          TRACI         08/23/15            UNLAWFUL BREAKING & ENTERING VEHICLE        15,00.00
REID          TRACI         08/23/15            THEFT OF PROP 2nd                           5,000.00
REID          TRACI         08/23/15            FRAUDULENT USE OF CREDIT CARD               5,000.00
REID          TRACI         08/23/15            FRAUDULENT USE OF CREDIT CARD               5,000.00
REID          TRACI         08/23/15            NWNI
REID          TRACI         08/23/15            NWNI
REID          TRACI         08/23/15            NWNI
REYES         ANTONIO       11/16/15   11/17/15 POSSESSION MARIJUANA 1st                    10000.00
ROBERTS       PHILLIP       10/10/15   10/10/15 FTA CHILD SUPPORT                           2500.00
ROBERTS       PHILLIP       08/17/15   08/17/15 FTA CRIMNAIL MISSCHEFT                      $2500.00
ROGERS        MARY          11/17/15   11/18/15 NWNI                                        500.00
Rosian        Dustin        10/30/15   10/30/15 REC STOLEN PROP 2ND                         15,000.00
ROSS          JAMES         05/19/15   06/22/15 PROBATION VIOLATION
Rostofer      Kayla         10/28/15   10/29/15 HARRASSMENT                                 1000.00
ROSTOFER      THOMAS        10/07/15   10/09/15 FAILURE TO COMPLY                           no bond
ROSTOFER      THOMAS        10/07/15   10/09/15 THEFT OF PROPERTY 2ND                       $5000.00
ROSTOFER      THOMAS        10/07/15   10/09/15 BURGLARY 3RD                                $15,000.00
ROWE          Brandon       06/16/15   09/13/15 PROBATION VIOLATION                         NO BOND
RUNFOLA       ANDREW        06/21/15   06/21/15 POSS MARIJUANA 2ND                          2500.00
RUSHTON       MACKINLEY     11/09/15            PROBATION VIOLATION                         NO BOND
SALAICES      JEREMY        07/06/15   07/10/15 FTA IMPROPER LANE CHANGE
SALAICES      JEREMY        07/06/15   07/10/15 FTA OPER VEHICLE NO INSURANCE
SALAICES      JEREMY        07/06/15   07/10/15 FTA OPERATING VEHICLE WITHOUT INSURANCE
SALAICES      JEREMY        07/06/15   07/10/15 FTA DRIVING WRONG SIDE OF ROAD
SASSER        JANICE        04/24/15   07/21/15 PROBATION VIOLATION                         NO BOND
SASSER        JANICE        09/01/15   10/28/15 FTA POSS/SELL PERCURSOR CHEMICAL            NO BOND
Screws        Brantley      09/23/15   09/23/15 THEFT 3                                     2500.00
SCREWS        DAVID         06/10/15   07/10/15 FTA
SCREWS        DAVID         06/10/15   07/10/15 PROBATION VIOLATION                         NO BOND
Segars        David         09/14/15   09/17/15 WILIFUL ABUSE OF CHILD UNDER 18             $145,000.00
Segars        David         09/01/15   09/01/15 FTP - CHILD SUPPORT                         2,500.00
self          jamin         08/13/15   08/13/15 POSSESSION CONTROLLED SUBSTANCE             10,000.00
self          jamin         08/13/15   08/13/15 POSSESSION DRUG PARAPHERNELIA               2,500.00
SEWELL        OTIS          06/22/15   06/25/15 DUI                                         $1,000.00




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SEWELL      OTIS          06/22/15   06/25/15 OBST. VEHICLE TRAFFIC                                              None
SHEARS      JEREMY        07/31/15   07/31/15 FTA-DV 3RD                                                         300.00
Shears      Jeremy        06/03/15   06/03/15 ASSAULT 3 DV                                                       5000.00
SHELNUT     WESLEY        10/24/15   10/25/15 DRIVING UNDER INFLUENCE                                            2500.00
Shelton     Jackie        10/09/15   10/09/15 POSS/REC CONTR. SUB                                                $15,000.00
Shelton     Jackie        10/09/15   10/09/15 Drug paraphernalia; use or possession; delivery or sale; forfeitur $6,000.00
Shelton     Jackie        10/09/15   10/09/15 Unlawful possession of marihuana in the first degree               $15,000.00
Shelton     Jackie        10/09/15   10/09/15 Certain persons forbidden to possess pistol                        $15,000.00
Shelton     Jackie        10/09/15   10/09/15 Receiving stolen property in the third degree                      $6,000.00
Shelton     Jackie        10/09/15   10/09/15 Receiving stolen property in the third degree                      $6,000.00
Shelton     Jackie        10/09/15   10/09/15 Receiving stolen property in the first degree                      $15,000.00
Shelton     Julie         10/16/15   10/16/15 POSS/RECEIVING CONTROLLED SUBSTANCE                                $15,000.00
Shelton     Julie         10/16/15   10/16/15 POSS OF DRUG PARAPHERNAILIA                                        $6,000.00
Shelton     Julie         10/16/15   10/16/15 POSS OF MARIJUANA 2ND                                              $6000.00
SHEPPARD    BOBBY         06/15/15   07/14/15 PROBATION VIOLATION                                                NO BOND
SHEPPARD    BOBBY         06/15/15   07/14/15 POSSESSION DRUG PARAPHERNELIA                                      $2500
SHEPPARD    BOBBY         08/05/15   08/06/15 PROBATION VIO {GA}
SHEPPARD    JUSTIN        10/27/15            PROBATION VIOLATION                                                NO BOND
Sheppard    Lisa          08/27/15            FTA - NWNI                                                         NONE
Sheppard    Lisa          08/27/15            FTA - UNLAW/ FURN CONT                                             none
Sheppard    Lisa          08/27/15            PROBATION VIOLATION                                                NONE
SHLOSSMAN   ANDREW        06/13/15   06/13/15 POSS. CONTROLLED SUBSTANCE                                         10000.00
SHLOSSMAN   ANDREW        06/13/15   06/13/15 POSS.MARIJUANA 2ND                                                 2500.00
SHLOSSMAN   ANDREW        06/13/15   06/13/15 POSS. DRUG PARA                                                    2500.00
SHLOSSMAN   ANDREW        06/13/15   06/13/15 MINOR IN POSS.ALCOHOL                                              500.00
Siggers     Christopher   07/02/15   07/02/15 FTA POSS. MARIJUANA 2ND                                            NO BOND
SIMONS      CHERI         07/17/15   07/28/15 POSSESSION OF CONTROLLED SUBSTANCE                                 10,000.00
SIMONS      CHERI         07/17/15   07/28/15 POSSESSION OF DRUG PARAPHERNALIA                                   2,500.00
SIMONS      CHERI         07/17/15   07/28/15 POSSESSION MARIJUANA 2ND                                           2,500.00
SIMS        GRADY         06/30/15   07/02/15 FTA DRIVING WITHOUT LICENSE                                        NO BOND
SIMS        GRADY         08/08/15   08/10/15 FTA PROBATION/HARASSMENT                                           NO BOND
sims        nellie        08/29/15   08/29/15 DRIVING UNDER INFLUENCE                                            1000.00
sims        nellie        08/29/15   08/29/15 reasonable and prudent speed
SIMS        ROBERT        11/17/15            MURDER                                                             NONE
Sims        Shandrica     09/12/15   09/12/15 DRIVING UNDER INFLUENCE                                            5000.00
SMITH       ANTHONY       07/10/15   08/24/15 PROBATION VIOLATION                                                NO BOND
SMITH       BLAKE         10/08/15   10/09/15 PUBLIC INTOXICATION                                                500.00
SMITH       BLAKE         10/08/15   10/09/15 CRIMINAL LITTERING                                                 $1000.00
SMITH       BRANDI        10/31/15   11/04/15 OBSTRUCTING GOVERNMENTAL OPERATIONS                                5,000.00
SMITH       DANA          08/16/15   11/23/15 PROBATION VIOLATION                                                NONE
SMITH       DARREN        06/15/15   06/15/15 FTA - DRIVING SUSPENDED                                            320.00
SMITH       EARNEST       09/29/15            ASSAULT 3 DV
SMITH       EARNEST       09/29/15            RESISTING ARREST
SMITH       EARNEST       09/29/15            ESCAPE 3rd                                                         15,000
SMITH       EARNEST       09/29/15            ESCAPE 3rd                                                         15,000
SMITH       EARNEST       09/29/15            PROBATION VIOLATION
SMITH       EARNEST       09/26/15   09/26/15 Domestic violence - Third degree                                   $5,000.00
SMITH       EARNEST       09/26/15   09/26/15 Resisting arrest                                                   $2,500.00
SMITH       EARNEST       09/26/15   09/26/15 ESCAPE 3RD                                                         $15,000.00
SMITH       EARNEST       09/26/15   09/26/15 ESCAPE 3RD                                                         $15,000.00
SMITH       EARNEST       09/29/15            DEST ST PROP/INMATE                                                10,000
SMITH       EARNEST       09/29/15            TOP 3RD                                                            $2500
SMITH       EARNEST       09/26/15   09/26/15 PROBATION VIOLATION                                                NONE
SMITH       GREGORY       07/11/15   07/12/15 DV HARASSMENT                                                      500.00
SMITH       JAMES         10/07/15   11/16/15 CHILD SUPPORT
SMITH       JAMES         10/07/15   11/16/15 COMMUNITY CORRECTIONS VIOLATION
Smith       Justin        09/12/15   10/06/15 FTA {CHILD SUPPORT}                                                $2500.00 +1
SMITH       PATRICIA      10/06/15   11/16/15 PROBATION VIOLATION                                                NO BOND
SMITH       SAMANTHA      10/28/15   10/29/15 HARRASSMENT                                                        1000.00
SMITH       STACY         04/16/15            ATTEMPT ELUDE
SMITH       STACY         04/16/15            TAMPERING WITH EVIDENCE
SMITH       STACY         04/16/15            MANUFACTURING CONTROLLED SUBSTANCE 1ST                             $48,000.00
SMITH       STACY         04/16/15            TRAFFICKING CONTROLLED SUBSTANCE
SMITH       STACY         04/16/15            POSSESSION DRUG PARAPHERNELIA FELONY
SMITH       STACY         04/16/15            POSSESSION DRUG PARAPHERNELIA MISD
SMITH       STACY         04/16/15            THEFT 1
Smith       Timothy       06/01/15   07/24/15 FTA CHILDSUPPORT                                                   $5,000.00 + 1
SMITH       WILLIE        09/09/15   09/10/15 HOLDING FOR CLAY CO
SORTO       JESSICA       10/01/15   10/02/15 FAILURE TO APPEAR                                                  $10,000.00
SPEARS      JEREMIA       09/14/15   09/14/15 HARRASSMENT                                                        $1000
SPEARS      JOEL          09/17/15   11/16/15 COMMUNITY CORRECTIONS VIOLATION                                    NO BOND




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SPEARS       JOEL          09/17/15   11/16/15 ESCAPE 1 ST DEGREE                           30,000.00
Spivey       Shelby        09/14/15   09/18/15 GJI WILFUL ABUSE OF CHILD UNDER 18           145,000.00
SPRATLING    DARIUS        10/08/15   10/09/15 ALTERING FIREARM IDENTIFICATION OR POSS.     10,000
SPRATLING    DARIUS        10/08/15   10/09/15 RECKLESS ENDANGERMENT                        5000
STAPLER      MATTHEW       08/09/15   08/09/15 DUI                                          5000.00
Stephens     Christopher   04/09/15   10/23/15 SODOMY 2ND                                   $60,000.00
Stephens     Christopher   04/09/15   10/23/15 RAPE 2ND
Stewart      Eddie         06/02/15   07/02/15 COMMUNITY CORRECTIONS VIOLATION
STEWART      MATTHEW       07/17/15   08/09/15 DV 3RD
STEWART      MATTHEW       07/03/15   07/05/15 weekender/domestic violence
STEWART      RACHEL        05/22/15   11/04/15 CHILD SUPPORT                                $5000 +1
STEWART      RACHEL        05/22/15   11/04/15 PROMOTING PRISON CONTRABAND 2ND
STEWART      RACHEL        05/22/15   11/04/15 POSSESSION DRUG PARAPHERNELIA                $32,000.00
STEWART      RACHEL        05/22/15   11/04/15 POSSESSION CONTROLLED SUBSTANCE
STEWART      RACHEL        05/22/15   11/04/15 TRAFFICKING METH
STEWART      RACHEL        05/22/15   11/04/15 UNAUTHORIZED USE OF VEHICLE
STODGHILL    ANTHONY       06/14/15   06/14/15 DRIVING UNDER INFLUENCE                      $2500.00
STONE        JAMICHAEL     03/23/15   07/28/15 POSSESSION MARIJUANA 1ST                     $10,000.00
STORY        JEFF          07/26/15   07/27/15 DISORDERLY CONDUCT                           1000.00
Strickland   Lamorris      05/07/15   06/19/15 community corrections violations             no bond
Strickland   Lamorris      05/07/15   06/19/15 CHILD SUPPORT
STRONG       TIFFANY       10/10/15   10/21/15 SEX ABUSE OF A CHILD                         60000.00
SULLIVAN     BILLIE        08/22/15   08/23/15 OPEN CONTAINER                               $500.00
Suttle       Machella      05/31/15   06/30/15 DV ASSUALT 3RD                               $5000.00
Suttle       Machella      05/31/15   06/30/15 PUBLIC INTOX                                 $500.00
TAFT         STEVEN        07/08/15   11/04/15 POSSESSION OF CONTROLLED SUBSTANCE           $11,000.00
TAFT         STEVEN        07/08/15   11/04/15 POSSESSION OF DRUG PARAPHERNAILIA
TAFT         STEVEN        07/08/15   11/04/15 POSSESSION OF CONTROLLED SUBSTANCE
TAFT         STEVEN        07/08/15   11/04/15 FAILURE TO APPEAR NO DRIVERS LICENSE         NONE
TAFT         STEVEN        07/08/15   11/04/15 FAILURE TO APPEAR FAILURE TO WARE S/A        NONE
tapely       thomas        08/02/15   08/03/15 DRIVING UNDER INFLUENCE                      1000.00
tapely       thomas        08/02/15   08/03/15 IMPROPER EQUIPMENT
tapely       thomas        08/02/15   08/03/15 IMPROPER LANE USAGE
TARVER       GROVER        05/21/15   06/11/15 DISORDERLY CONDUCT                           1000.00
TAYS         ZACHARIAH     11/16/15   11/17/15 POSSESSION MARIJUANA 2ND                     2500.00
TAYS         ZACHARIAH     11/16/15   11/17/15 POSS OF FIREARM W/O LICENSE                  1000.00
TENNEY       SHARON        10/20/15   10/22/15 POSSESSION CONTROLLED SUBSTANCE              10000.00
TENNEY       SHARON        10/20/15   10/22/15 POSSESSION MARIJUANA 2ND                     2500.00
TENNEY       SHARON        10/20/15   10/22/15 POSSESSION DRUG PARAPHERNELIA                2500.00
TERRELL      TERRY         06/28/15   06/28/15 DUI                                          2500.00
TERRELL      TERRY         07/27/15   07/28/15 DRIVING UNDER INFLUENCE                      5000.00
THOMAS       CHRISTOPHER   06/14/15   06/15/15 NWNI                                         500.00
THOMAS       ELIZABETH     08/20/15   08/25/15 IN FROM DOC                                  NONE
Thompson     Chad          07/28/15   09/14/15 PROBATION VIOLATION
THOMPSON     JESSICA       09/04/15   09/10/15 DUI ALCO/CONTR SUB                           2,500.00
THOMPSON     MATTHEW       09/16/15   09/17/15 FTA/ DRIVING W/O LICENSE                     NONE
THOMPSON     RANDALL       08/13/15   08/13/15 POSSESSION DRUG PARAPHERNELIA                2500.00
THORNTON     LISA          09/30/15   09/30/15 HARRASSMENT                                  $1,000
Tillis       William       10/12/15   10/28/15 PROBATION VIOLATION
TINNIN       KRISTY        07/09/15   07/15/15 POSSESSION CONTROLLED SUBSTANCE              10,000
TINNIN       KRISTY        07/09/15   07/15/15 POSSESSION DRUG PARAPHERNELIA                2,500
TITTLE       JAMES         07/25/15   08/10/15 DISORDERLY CONDUCT                           1000.00
TITTLE       JAMES         07/25/15   08/10/15 RESISTING ARREST                             2500.00
TITTLE       JAMES         10/31/15   11/23/15 CRIMINAL TRESPASS 3RD                        500.00
TITTLE       JAMES         10/31/15   11/23/15 OBSTRUCTION GOVT OPERATION                   5000
TITTLE       JAMES         10/31/15   11/23/15 PROBATION REVOCATION
TOLBERT      EARL          07/31/15   08/07/15 ATTEMPTING TO ELUDE LAW ENFORCEMENT          2500.00
TOLBERT      EARL          07/31/15   08/07/15 RECKLESS DRIVING
TOLBERT      EARL          07/31/15   08/07/15 PROBATION VIOLATION
TRAMMELL     ADREAN        05/15/15   06/05/15 PROBATION VIOLATION                          NO BOND
TRAMMELL     ADREAN        10/09/15   10/09/15 RECKLESS ENDANGERMENT                        5000.00
TRAMMELL     ADREAN        10/09/15   10/09/15 ALTERING FIREARM IDENTIFICATION OR POSS.     $10,000.00
TREADWAY     BENJAMIN      06/18/15   06/20/15 DOMESTIC VIOLENCE 3RD                        $5,000.00
Treadwell    Scharlett     08/07/15   08/07/15 POSSESSION CONTROLLED SUBSTANCE              10000.00
Treadwell    Scharlett     08/07/15   08/07/15 POSSESSION MARIJUANA                         2500.00
Treadwell    Scharlett     08/07/15   08/07/15 POSSESSION DRUG PARAPHERNELIA                2500.00
Treadwell    Scharlett     08/07/15   08/07/15 POSSESSION CONTROLLED SUBSTANCE              10000.00
Treadwell    Scharlett     08/07/15   08/07/15 carry brass knuckles/sling shot              $500.00
Treadwell    Scharlett     08/07/15   08/07/15 DISTRIBUTION CONTROLLED SUBSTANCE            30000.00
Treadwell    Scharlett     08/07/15   08/07/15 POSSESSION DRUG PARAPHERNELIA                2500.00
Treadwell    Scharlett     08/07/15   08/07/15 POSSESSION OF FIREARM W/O LICENSE            $1000.00




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TREADWELL     TYRIK         12/08/14            CAPITAL MURDER                                  NO BOND
TREADWELL     TYRIK         12/08/14            ASSAULT 3                                       NO BOND
TUCKER        EUGENE        09/02/15   10/05/15 PUBLIC INTOXICATION                             500.00
TUCKER        JEREMIAH      08/20/15   08/22/15 CHILD SUPPORT                                   $2500.00
TUCKER        JEREMIAH      08/20/15   08/22/15 FTA CHILDSUPPORT                                $2500.00
TUCKER        JEREMIAH      08/20/15   08/22/15 FTA CHILD SUPPORT                               $2500.00
TUCKER        JEREMIAH      08/20/15   08/22/15 FTA CHILD SUPPORT                               $2500.00
Turman        Reginald      09/04/15   11/02/15 FTA - CHILD SUPPORT                             2,500.00
turner        benjamin      07/26/15   08/11/15 PUBLIC INTOXICATION                             500.00
UNDERWOOD     YONA          08/28/15   09/11/15 HARRASSING COMMUNICATION                        500.00
UNDERWOOD     YONA          08/28/15   09/11/15 FTP-POSS OF DRUG PARA                           278.00
UNDERWOOD     YONA          08/28/15   09/11/15 FTP-DUI                                         1431.00
UNDERWOOD     YONA          08/28/15   09/11/15 DRIVING W/O LICENSE                             383.00
Urioste       Jennifer      11/24/15   11/24/15 FUGITIVE OF JUSTICE                             NO BOND
VERAS SOLER   FRANKLIN      09/29/15   10/22/15 POSS. OF MARIJUANA 2ND                          500
VERAS SOLER   FRANKLIN      09/29/15   10/22/15 DRUG PARAPHERNLIA                               500
VINES         BARTLESS      07/01/15   07/01/15 SPEEDING                                        no bond
Wade          Anthony       12/02/14   06/01/15 FAILURE TO REGISTER NOTIFICATION SEX OFFENDER   $15,000
Wade          Anthony       12/02/14   06/01/15 PROBATION VIOLATION
Wade          April         09/14/15            PROBATION VIOLATION                             NONE
Wade          Danny         05/04/15   10/19/15 COMMUNITY CORRECTIONS                           NONE
Waits         Justin        02/18/15   06/07/15 PROBATION VIOLATION
Waits         Justin        06/14/15   10/11/15 PROBATION VIOLATION                             NO BOND
waldon        casey         07/04/15   07/05/15 DRIVING UNDER INFLUENCE                         5000.00
WALDREP       DANNY         06/30/15   07/02/15 COMMUNITY CORRECTIONS VIOLATION                 NO BOND
WALDREP       DANNY         07/24/15   08/19/15 COMMUNITY CORRECTIONS VIOLATION
WALDREP       DANNY         08/19/15   08/24/15 COMMUNITY CORRECTIONS VIOLATION                 NONE
Watson        Kenneth       04/01/15   07/09/15 COMMUNITY CORRECTIONS VIOLATION                 NO BOND
Watts         Curtis        11/02/15   11/02/15 D V HARRASSMENT                                 1000.00
watts         james         11/27/15   11/28/15 DUI                                             2500.00
Watts         Jeanette      11/02/15   11/02/15 HARRASSMENT DV                                  $5,000
Watts         Kevin         11/10/15   11/10/15 hold for chamber co
Watts         Matthew       10/27/15   10/28/15 in for court                                    none
Whaley        Eddie         10/23/15   10/24/15 PUBLIC INTOXICATION                             500.00
Whaley        Eddie         10/11/15   10/12/15 INTERFERING W GOV OPERATIONS                    5000.00
Whaley        Eddie         11/23/15   11/23/15 CHILD SUPPORT                                   2,500.00 + 1
Whaley        Eddie         11/23/15   11/23/15 CHILD SUPPORT                                   2,500.00 + 1
Whaley        Eddie         07/01/15   07/30/15 PROBATION REVOKED
WHALEY        JOHN          06/29/15   08/10/15 POSSESSION CONTROLLED SUBSTANCE                 10,000.00
WHALEY        JOHN          06/29/15   08/10/15 POSSESSION DRUG PARAPHERNELIA                   2500.00
WHALEY        ROBBIE        09/07/15   09/08/15 DISORDERLY CONDUCT                              $1,000
WHEAT         JONATHAN      10/26/15   11/16/15 PROBATION VIOLATION                             NONE
WHIDBY        CHRISTOPHER   05/24/15   07/10/15 PROBATION VIOLATION                             none
WHITE         JONATHAN      08/14/15   08/15/15 POSSESSION MARIJUANA 1ST                        10000.00
WHITE         JONATHAN      08/14/15   08/15/15 POSSESSION DRUG PARAPHERNELIA                   2500.00
Wiggins       Amy           10/17/15   11/15/15 FTA POSS MARIJUANA 2ND                          NO BOND
Wiggins       Amy           10/17/15   11/15/15 FTA CHILD SUPPORT                               2500.00 +1
Wiggins       Amy           10/17/15   11/15/15 RESISTING ARREST
WIGGINS       ANTHONY       07/23/15   07/24/15 HARRASSMENT                                     1000.00
WIGGINS       SETH          07/11/15   07/11/15 POSS.MARIJUANA 2ND                              2,500.00
WIGGINS       SETH          07/11/15   07/11/15 ELUDING LAW ENFORCEMENT                         2,500.00
wiggins       timothy       10/30/15            PROBATION VIOLATION
WILLIAMS      AMY           10/23/15   11/10/15 FTA{BURG 3RD/TOP 3RD}                           no bond
Williams      Jonathan      10/20/15   10/21/15 POSSESSION CONTROLLED SUBSTANCE                 $10,000.00
Williams      Jonathan      10/20/15   10/21/15 POSSESSION DRUG PARAPHERNELIA                   $2,500.00
WILLIAMS      MARION        10/17/15            COMMUNITY CORRECTIONS VIOLATION                 NO BOND
WILLIAMS      MARION        10/17/15            COMMUNITY CORRECTIONS VIOLATION                 NO BOND
WILLIAMS      TIFFANY       04/06/15   06/05/15 PROBATION VIOLATION                             NONE
WILLIS        KENNETH       08/07/15   08/17/15 ATTEMPT TO ELUDE                                2500.00
WILLIS        KENNETH       08/07/15   08/17/15 RESISTING ARREST                                2500.00
WILLIS        KENNETH       08/07/15   08/17/15 FTA POSS. CONTROLLED SUB.                       NO BOND
WILLIS        KENNETH       08/07/15   08/17/15 FTA POSS. DRUG PARA                             NO BOND
WILLIS        KENNETH       08/07/15   08/17/15 POSS FORGED INSRT1ST                            $10,000.00
WILSON        BILLY         10/19/15   11/02/15 FAILURE TO APPEAR CHILD SUPPORT                 1000.00
WILSON        BILLY         10/19/15   11/02/15 RESISTING ARREST                                2500.00
WILSON        BILLY         10/19/15   11/02/15 POSSESSION DRUG PARAPHERNELIA                   2500.00
WILSON        BILLY         10/19/15   11/02/15 UNLAWFUL POSS OF A CONTROLLED SUBSTANCE         10,000.00
WILSON        KENNY         08/01/15   08/02/15 WEEKEND SANCTION                                NONE
WILSON        KENNY         07/18/15   07/19/15 WEEKEND SANCTION
WILSON        KENNY         07/25/15   07/26/15 weekend senties
WILSON        KENNY         07/10/15   07/12/15 WEEKEND SENTENCE




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Worley      Jeanette   06/11/15   07/10/15 DRIVING UNDER INFLUENCE
wortham     joey       07/17/15   07/18/15 DRIVING UNDER INFLUENCE                 5000.00
WORTHAM     ROY        05/05/15   07/02/15 PROBATION VIOLATION                     NONE
WRIGHT      AMANDA     09/02/15   09/03/15 PROBATION VIOLATION                     NO BOND
Wright      Amanda     09/02/15   11/30/15 PROBATION VIOLATION
WRIGHT      VICTORIA   10/30/15   10/31/15 POSS MARIJ 2ND                          2,500.00
WRIGHT      VICTORIA   10/30/15   10/31/15 POSS DRUG PARAPHERNALIA                 2,500.00
WRIGHT      VICTORIA   10/30/15   10/31/15 CONTRIBUTING TO DELIQUENCY OF MINOR     5,000.00
WRIGHT      VICTORIA   10/30/15   10/31/15 FURNISHING ALCOHOL TO UNDERAGE          5,000.00
yarbrough   mark       11/06/15   11/09/15 FTA-DRIVING W REVOKED                   NONE
YATES       BARRY      11/14/15   11/15/15 DRIVING UNDER INFLUENCE                 2,500.00
Yates       Debra      07/28/15   07/29/15 DISTRIBUTION CONTROLLED SUBSTANCE       30000.00
Yates       Debra      07/28/15   07/29/15 POSSESSION CONTROLLED SUBSTANCE         10000.00
Yates       Jason      11/05/15   11/11/15 POSSESSION CONTROLLED SUBSTANCE         35,000
Yates       Jason      11/05/15   11/11/15 POSSESSION DRUG PARAPHERNELIA
Yates       Jason      11/05/15   11/11/15 POSSESSION MARIJUANA
Zackery     Jessie     07/01/15   07/02/15 COMMUNTIE CRRECTION SANTION
ZACKERY     TERRY      09/03/15   09/04/15 HARRASSMENT DV 3RD                      500.00
ZACKERY     TERRY      09/03/15   09/04/15 HARRASSING COMMUNICATION                300.00




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